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EXHIBIT “E”
CAAA

7 2:08-cv-03138-AB Document 22-2 Filed 05/15/0 TPA 76
Bese RAVELERS

AUTOMOBILE POLICY DECLARATIONS

1. Named Insured Your Agency’s Name and Address

JULIE CAJINA CANUSO INS AGENCY INC
30 W VINE ST P O BOX 712 ‘ .
HATFIELD PA 194403043 SPRING HOUSE PA 19477

Your Policy Number : 981333026 101 1 For Policy Service Call 215-643-7060
Your Account Number: For Claim Service Call 1-800-ctarm33

 

2. Your Total Premium for the Folicy Period is $1,587.00.

 

The policy period is from June 5, 2007 to December 5, 2007.
3. Your Vehicles Identification Numbers
1 2006 HYUND TUCSON GL KM8JN12DX60283418
2 2001 CHEVR SILVERADO 2GCEK19T311136907

 

4. Coverages, Limits of Liability and Premiums

Insurance is provided only where a premium.is shown for the coverage.

*IF COLLISION COVERAGE IS PROVIDED UNDER THIS POLICY, COVERAGE EXTENDS

TO VEHICLES WHICH YOU RENT FOR 30 DAYS UNDER A RENTAL CAR COVERAGE
AGREEMENT . PLEASE REMEMBER THAT COLLISION COVERAGE DOES NoT PAY FOR

LOSS OF USE. PLEASE CONTACT YOUR TRAVELERS AGENT OR REPRESENTATIVE iF :
YOU HAVE QUESTIONS. IF YOU DO NOT CARRY COLLISION INSURANCE, THIS’ POLICY
DOES NOT PAY FOR DAMAGE TO RENTAL VEHICLES. *

1 , 2

06 HYUND 01 CHEVR
TUCSON GL SILVERADO

A - Bodily Injury
$25,000 each person $ 116 '$- 120
$50,000 each accident

wo
1

Property Damage
$25,000 each accident 139 143

D7 - Uninsured Motorists
(Bodily Injury) Non-Stacked
$25,000 each person 15 15
°$50,000 each accident
See Endorsement A37043

D9 - Underinsured Motorists
(Bodily Injury) Non-Stacked
$25,000 each person 24 24
$50,000 each accident
See Endorsement A37043

Continued-on next page . Page 1 of 4
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4. Coverages, Limits of Liability and Premiums (continued)

06 HYUND 01 CHEVR
TUCSON GL SILVERADO

E - Collision
Actual Cash Value less 253 287
$500 deductible

F - Comprehensive
(Other than Collision)
Actual Cash Value less Lo 69 72
$500 deductible ,

G -~ Extended Transportation Expense oO
$30 per day/$900 maximum 41 11

I - Towing and Labor Costs
$75 per disablement 3 -
$50 per disablement -

QA - First Party Benefits Coverage DL,
Limited Tort Option 118 108
See Endorsement A37021

R - Added First Party Benefits 30 27
B5-Income Loss Ss
Maximum Amount /Monthly Amount
$5,000/$1,000
_ C7-Furneral Expenses | -
$2,500. - , vee:
' D6-Accidental Death
$5,000 ‘
See Endorsement A37021 pot

Subtotals for your vehicles: $778 $809

Total Premium for This Policy: $1,587

This is Not a bill. You will be billed separately for this transaction.

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5. Information Used to Rate Your Policy

Anti Theft Device 06 HYUND 01 CHEVR
: TUCSON GL SILVERADO

Accidents and/or Traffic Violations Listed Below:

Traffic Violations 09/09/05
. . SCOTT

Continued on next page
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° Case 2:08-cv-03138-AB Document 22-2 Filed 05/15/09 oebRAVELERS

Named Insured: gunre CAJINA

Policy Number: 981333026 101 1

Policy Period: gune 5, 2007 to December 5, 2007.
Issued On: May 30, 2007

 

5. Information Used to Rate Your Policy (continued)

 

 

Drivers Date of Sex Marital
Birth Status
JULIE 12-15-80 Female Married
SCOTT 11-20-78 Male Married
Vehicles Use of ‘Location
Vehicle of Vehicle
06 HYUND TUCSON GL a Commute HATFIELD PA
o1 CHEVR- SILVERADO . Commute HATFIELD PA

It is important that the above information is correct to ensure that your policy is
properly rated. If there are errors or changes to this information, please notify

 

6. Other Information
Loss Payees

01 CHEVR SILVERADO |. PNC BANK. Le
VIN # 2GCEK19T311136907 2730 LIBERTY AVE
PITTSBURGH, PA 19522

Your Insurer The Travelers Home and Marine Insurance Company

6081 East 82na@ St, Indianapolis, Indiana 46250
One Tower Square, Hartford, ct 06183

Policy Endorsements

A37013 Amendment of Policy Provisions - Pennsylvania
A37021 First Party Benefits Coverage - Pennsylvania

Policy Edition 8 Policy Form 101 Issued on 05/30/07

Countersignature;:

 

 

 

Thank you for insuring with Travelers. We appreciate your business. If you

have any questions about your insurance, Please contact your Travelers
representative,

Continued on next page
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nw

 

 

FOR YOUR INFORMATION

Children & air bags. . - it's as easy as 1 - 2 - 3

i. Never put a child seat (those used with infants) in the front seat
ef a car with air bags.

2. Make sure all children are buckled up no matter where they sit.
Unbuckled children can be hurt or killed by an air bag.

3. The rear seat (those with seat belts) is the safest place for children
of any age to ride.

For information about how Travelers compensates independent agents and
brokers, please visit www.Travelers.com or call our toll free telephone
number 1-866-904-8348. You may also request a written copy from Marketing
at One Tower Square, 2GSA, Hartford, Connecticut 06183.

The laws of the Commonwealth of Pennsylvania, as enacted by the General Assembly,
-only require that you purchase Liabliity and First Party Medical Benefits
coverages. Any additional coverages, or coverages in excess of the limits
required by law, are provided only at your request as enhancements to basic
coverages. The premium for the mandatory coverages at the limits: required’ by -

law and the tort option you previously elected | are as follows:

Coverage Veh 1. Veh 2
Bodily Injury $96.00 $99.00

$15,000 each person/
$30,000 each accident

Property Damage $124.00 .$128.00
$5,000 each accident .

First Party Medical $118.00° $108.00

Subtotal $338.00 $335.00

Total Amount $673.00 ©

You may purchase Uninsured and/or Underinsured Motorists Coverage at any
available limits from $15,000/$30,000 up to your Bodily Injury Liability limits.
You may reject these coverages entirely.

 

This is to certify that this is a reproduction, from the company’s records, of the insurance policy
between the insured and the insuring company as described on the Declarations Page. It is a full,
true and complete reproduction of the insurance policy. No insurance is afforded hereunder

| Signature Laney Ll 3 Mh tifa ~~ Date nor

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& TRAVELERS

Automobile Policy Booklet

  

from Travelers

Especially for:
JULIE CAJINA

Prepared by:
CANUSO INS AGENCY INC»

  
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The Contents of T. his Booklet

1. Your Declarations:

A summary of your coverages, amounts of insurance, and premiums for those coverages
under the policy.

2. The Travelers Car Insurance Policy:

The policy contract describing coverages, rights, and obligations.

3. Endorsements:

Additional coverages or policy provisions applicable to your policy. -

4... Important Notices:

Information required by your state but not part of your policy provisions.

Imp ortant Phone Num bers

 

1. For Policy Service:

Call your Travelers representative.
(215) 643-7060

2. To Report a Claim: |

Call your Travelers agent or representative or the Travelers toll-free country-
wide claim reporting service at 1-800-CLAIM-33(1-800-252-4633).

PL-7841 5-94
UAC A

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YOUR PERSONAL AUTO POLICY QUICK REFERENCE

 

 

TOC10284

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DECLARATIONS PAGE
Your Name and Address
Your Auto or Trailer
Policy Period
Coverages and Amounts of Insurance
Beginning
On Page
AGREEMENT 1 .
DEFINITIONS 1
LIABILITY Insuring Agreement 2
Supplementary Payments 2
Exclusions . . 2
Limit of Liability 4
Out of State Coverage _. 4
Financial Responsibility 4
Other Insurance 4
MEDICAL Insuring Agreement . 5
PAYMENTS Exclusions 5
Limit of Liability 6
Other Insurance 6
UNINSURED Insuring Agreement 6
MOTORISTS Exclusions ‘ 7
- Limit of Liability 7
Other Insurance. 8
Arbitration ° 8
DAMAGE TO Insuring Agreement | 8
YOUR AUTO Transportation Expenses 9
Exclusions 10
Limit of Liability 11
Payment of Loss : 11
Loss Payable Clause 11
No Benefit to Bailee “ils
Other Sources of Recovery 11
Appraisal 11
DUTIES General Duties 12
AFTER AN Additional Duties for Uninsured Motorists Coverage. 12
ACCIDENT OR Additional Duties for Collision and Comprehensive
LOSS | Coverages 12
GENERAL Bankruptcy 12
PROVISIONS Changes 12
Fraud 13
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Our Right to Recover Payment : 13
Policy Period and Territory ... 13
Termination 13
Transfer of your Interest in this Policy. 14
Two or More Auto Policies 15

 

 

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AA A

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PERSONAL AUTO POLICY

Travelers Property Casualty Companies
Hartford, Connecticut
(Each a Stock Insurance Company)

 

AGREEMENT

 

In return for payment of the premium and subject to all the terms of this policy, we will provide the coverages you
have selected. These are shown by premium entries in the Declarations. The Declarations is a part of this policy.

 

DEFINITIONS

 

Throughout this policy, “you" and "your" refer to:

1. The “named insured" shown in the Declara-
tions; and

2. The spouse if a resident of the same household.

"We", "us" and “our" refer to the Company shown
in the Declarations providing this insurance.

For purposes of this policy, a private passenger
type auto shall be deemed to be owned by a person
if leased: .

1. Under a written agreement to that person; and

2. For a continuous period of at least 6 months.

Other words and phrases are defined. They are in
quotation marks when used.

D.

E.

7

mf

— *
.

"Bodily injury" means bodily harm, sickness or
disease, including death that results.

"Business" includes trade, profession or occupa-

tion.

“Family member" means a person related to you by
blood, marriage or adoption who is a resident of
your household. This includes a ward or foster
child.

"Occupying" means in, upon, getting in, on, out or
off. as

- “Property damage" means physical injury to, de-

struction of or loss of use of tangible property.

"Trailer" means a vehicle designed to be pulled by
a:

1. Private passenger auto; or

2. Pickup or van.

It also means a farm wagon or farm implement

' while towed by.a vehicle listed in 1. or 2. above.

"Your covered auto" means:

1. Any vehicle shown in the Declarations...

2. Any of the following types of vehicles on the
date you become the owner: ;

a. a private passenger auto; or

b. a pickup or van.

This provision (J.2.) applies only if:

a. . you acquire the vehicle during the policy
period;

b. you ask us to insure it within 30 days after
__ you become the owner; and

c. with respect to a pickup or van, no other
insurance policy provides coverage for
_ that vehicle.

If the vehicle you acquire replaces one shown
in the Declarations, it will have the same cov-
erage as the vehicle it replaced. You must ask
us to insure a replacement vehicle within 30
days only if:

a. you wish to add or continue Damage to
Your Auto Coverages; or

b. it is a pickup or van used in any "business"
other than farming or ranching.

If the vehicle you acquire is in addition to any
shown in the Declarations, it will have the

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broadest coverage we now provide for any ve-
hicle shown in the Declarations.

3. Any "trailer" you own.

4. Any auto or "trailer" you do not own while
used as a temporary substitute for any .
other vehicle described in this definition
which is out of normal use because of its:

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a. breakdown; d. loss; or

b. repair; e. destruction.
Cc. servicing;

This provision (J.4.) does not apply to the
Damage To Your Auto Section.

 

LIABILITY
Coverage A - Bodily Injury
Coverage B - Property Damage

 

INSURING AGREEMENT

A. We will pay damages for "bodily injury" (Cover-
age A) or "property damage" (Coverage B) for
which any "insured" becomes legally responsible
because of an auto accident. Damages include pre-
judgment interest awarded against the "insured".

We will settle or defend, as we consider appropri-
ate, any claim or suit asking for these damages. In
addition to our limit of liability, we will pay all de-
fense costs we incur. Our duty to settle or defend
ends when our limit of liability for these coverages
has been exhausted. We have no duty to defend

B.

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_ any suit or settle any claim for "bodily injury" or

"property damage" not covered under this policy.

"Insured" as used in these coverages means:

lL

You or any "family member" for the owner-
ship, maintenance or use of any auto or
"trailer".

Any person using “your covered auto".

For "your covered auto", any person or or-
ganization but only with respect to legal re-

"” sponsibility for acts or omissions of a person

for whom coverage is afforded under these

Liability Coverages.

For any auto or "trailer", other than "your cov-
ered auto", any other person or organization
but only with respect to legal responsibility for
acts or omissions of you or any "family mem-
ber" for whom coverage is afforded under
these Liability Coverages. This provision

(B.4.) applies only if the person or organiza-

tion does not own or hire the auto or "trailer".

SUPPLEMENTARY PAYMENTS

In addition to our limit of liability, we will pay on be-
half of an "insured":

1.

Up to $250 for the cost of bail bonds required
because of an accident, including related traf-
fic law violations. The accident must result in
"bodily injury"-or "property damage" covered
under this policy.

Premiums on appeal bonds and bonds to re-
lease attachments in any suit we defend. -

Interest accruing after a judgment is entered in
any suit we defend. Our duty to pay-interest
ends when we offer to pay that part of the
judgment which does not exceed our limit of
liability for these coverages.

Up to $50 a day for loss of earnings, but not
other income, because of attendance at hear-
ings or trials at our request.

Other reasonable expenses incurred at our re
quest.

EXCLUSIONS

A. We do not provide Liability Coverages for a any
person:

1.

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Who intentionally causes "bodily injury" or
"property damage".

For "property damage" to property owned or
being transported by that person.

For "property damage" to property: ~
a. rented to;

b. used by; or

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c. in thé ASFe Po cv-03138-AB Document 22- 9. Filed, OS/15/09 Page 12 of 76

that person.

This exclusion (A.3.) does not apply to "prop-
erty damage" to a residence or private garage.

For "bodily injury" to an employee of that per-
son during the course of employment. This ex-
clusion (A.4.) does not apply to "bodily injury"
to a domestic employee unless workers' com-

pensation benefits are required or available for .

that domestic employee.

For that person's liability arising out of the
ownership or operation of a vehicle while it is
being used to carry persons or property for a
fee. This exclusion (A.5.) does not apply to a
share-the-expense car pool.

' While employed or otherwise engaged in the

"business" of:
a. selling; d. storing; or
b. repairing; e. parking;

c. servicing;

_ vehicles designed for use mainly on public
highways. This includes road testing and deliv-

" ery. This exclusion (A.6.) does not apply to the

ownership, maintenance or use of "your cov--

ered auto" by:
a. - you;
b. any "family member"; or

c. any partner, agent or employee of you or
‘any "family member",

Maintaining or using any vehicle while that

-- person is employed or otherwise engaged in

any "business" (other than farming or ranch-
ing) not described in Exclusion A.6. This ex-
clusion (A.7.) does not apply to the
maintenance or use of a:

a. private passenger auto;
b. pickup or van that you own; or

c. "trailer" used with a vehicle described in a.
- or b. above.

Using a vehicle without a reasonable belief
that that person is entitled to do so.

‘bodily injury" om ‘property “amage" for
which that person:

a. is an insured under a nuclear energy li-
ability policy; or

b. would be an insured under a nuclear en-
ergy liability policy but for its termination
upon exhaustion of its limit of liability.

A nuclear energy liability policy is a policy is-
sued by any of the following or their succes-
SOrs:

a. Nuclear Energy Liability Insurance Asso-
ciation;

b. Mutual Atomic Energy Liability Under-
writers; or

-¢. Nuclear Insurance Association of Canada.

B. We do not provide Liability Coverages for the
ownership, maintenance or use of:

1.

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Any motorized vehicle having fewer than four
wheels.

Any vehicle, other than "your covered auto",
which is:

a. owned-by you; or

b. furnished or available for.your regular use.

~ Any vehicle, other than "your covered auto", a

which is:

a. owned by any "family member"; or

: b. furnished or available for the. regular use

- of any “family member".

However, this exclusion B. 3.) does not apply
to your maintenance or use of any vehicle
which is:

a. owned iby a "family member"; of

b. furnished or available for the regular use
of a "family member".

Any vehicle, located inside a facility designed
for racing, for the purpose of: -

a. competing in; or
b. practicing or preparing for;

any prearranged or organized racing or speed

contest. .

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LIMIT OF LIABILITY
A. Single Liability Limit
1. If the Declarations show a single limit of li-
ability for Coverage A and Coverage B com-
bined, this limit is our maximum limit of
liability for all damages for “bodily injury" and
"property damage" resulting from any one auto

accident. This is the most we will pay regard-
less of the number of:

a.- "Insureds";
b. Claims made;

. ¢. Vehicles or premiums shown in the Decla-
rations; or

d. Vehicles involved in the auto accident.

2. Wewill apply the limit of liability to provide
any separate limits required by law for bodily

injury and Property damage liability. However,

this provision (A.2.) will not change our total
limit of liability.

B. Split Liability Limits

If the Declarations show separate limits of liability
for Coverage A and Coverage B, the limit of li-
ability shown in the Declarations for each person
for Coverage A is our maximum: limit of liability
for all damages, including damages for care, loss
of services or death, arising out of "bodily injury"
sustained by any one’ person i any one auto acci-
dent. Subject to this limit for each person, the limit
of liability shown in the Declarations for each ac-
cident for Coverage A is our maximum limit of li-
ability for all damages for "bodily injury" resulting
from any one auto accident. The limit of liability
shown in the Declarations for each accident for
Coverage B is our maximum limit of liability for
all "property damage" resulting from any one auto
accident. These limits are the most we will pay re-
gardless of the number of:

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1. “Insureds";
2.. Claims made;

3. Vehicles or premiums shown in the Declara-
tions; or

4. Vehicles involved in the auto accident.
OUT OF STATE COVERAGE

If an auto accident to which this policy applies occurs

in any state or province other than the one in which
"your covered auto" is principally garaged, we will

interpret your policy for that accident as follows:

A. If the state or province has:

1. A financial responsibility or similar law speci-
fying limits of liability for "bodily injury" or
“property damage" higher than the limit shown
in the Declarations, your policy will provide
the higher specified limit.

. 2. A compulsory insurance or similar law-re-
quiring a nonresident to maintain insurance
whenever the nonresident uses a vehicle in that
State or province, your policy will provide at
least the required minimum amounts and types
of coverage.

B. No one will be entitled to dapat payments for .
the ‘same elements of loss.

FINANCIAL RESPONSIBILITY -

_ When this policy is certified as future proof of finan-

cial responsibility, this policy shall comply with the
law to the extent required.

OTHER INSURANCE

If there is other applicable Liability i insurance we will
pay only our share of the loss. Our share is the propor-
tion that our limit of liability bears to.the total of all
applicable limits. However, any insurance we provide
for a vehicle you do not own shall be excess over any
other collectible insurance.

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MEDICAL PAYMENTS
Coverage C

 

INSURING AGREEMENT

A. We will pay reasonable expenses incurred for nec-
essary medical and funeral services because of
"bodily injury”:

I. Caused by accident; and
2. Sustained by an "insured".

We will pay only those expenses incurred for
services rendered within 3 years from the date of
the accident.

B. “Insured" as used ‘in this coverage means:
L You or any “family member": -
a. while "occupying"; or
b. as a pedestrian when struck by;

a motor vehicle designed for use mainly on
public roads or a trailer of any type.

2. Any other person while "occupying" "your
covered auto".

EXCLUSIONS

We do not provide Medical Payments Coverage for
any person for "bodily injury":
1. Sustained while "occupying" any motorized
vehicle-having fewer than four wheels. :
2. Sustained while “occupying” "your covered
auto" when it is being used to carry persons or

property for a fee. This exclusion (2.) does not

apply to a share-the-expense car pool.

3. Sustained while "occupying" any vehicle lo-
*. cated for use as a residence or premises.

4. Occurring during the course of employment if

workers’ compensation benefits are required or -

available for the "bodily injury".

5. Sustained while “occupying", or when struck
by,-any vehicle (other than “your covered
auto") which is;

a. owned by you; or

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6.

10.

b. furnished or available for your regular use.

Sustained while "occupying", or when struck
by, any vehicle (other than “your covered
auto") which is:

a. owned by any "family member"; or

b. furnished or available for the regular use
of any "family member".

However, this exclusion (6.) does not apply to
you. ,

Sustained while "occupying" a vehicle without
a reasonable belief that that person is entitled
todo so. |

Sustained while "occupying" a vehicle when it
is being used in the "business" of an "insured",
This exclusion (8.) does tot apply to "bodily
injury" sustained while "occupying" a:

private passenger auto;
b. pickup or van that.you OWN; or .

c. "trailer" used with a vehicle described in a.
-or b. above. Fe

Sustained while "occupying" any vehicle lo-
cated inside a facility designed for racing, for
the purpose of: : oo

a. competing in; or .

b. practicing or preparing for;

any prearranged or organized racing or speed

contest.

_Caused by or as a consequence of:

a. discharge of a nuclear weapon (even if ac-
cidental);

b. war (declared or undeclared);

civil war;

d. insurrection; or

€. rebellion or revolution.

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11. From or as a consequence of the following,
whether controlled or uncontrolled or however
caused:

a. nuclear reaction;
b. radiation; or

c. radioactive contamination.

LIMIT OF LIABILITY

A. The limit of liability shown in the Declarations for

this coverage is our maximum limit of liability for
each person injured in any one accident. This is the
most we will pay regardless of the number of:

i. "Insureds";
2. Claims made;

3. Vehicles or premiums shown in the Declara-
tions; or

4. Vehicles involved in the accident.

B. Any amounts otherwise payable for expenses un-
der this coverage shall be reduced by any amounts
‘ paid or payable for the same expenses under Cov-
erage A or Coverage D.

C. No payment will be made unless the injured person
or that person's legal representative agrees in
writing that any payment shall be applied toward
any settlement or judgment that person receives
under Coverage A or Coverage D. . ,

OTHER INSURANCE |

If there is other applicable auto medical payments in-
surance we will pay only our share of the loss. Our
share is the proportion that our limit of liability bears
to the total of all applicable limits. However, any in- ’
surance we provide with respect to a vehicle you do not
own shall be excess over any other collectible auto in-
surance providing payments for medical or funeral ex-
penses.

 

- UNINSURED MOTORISTS
Coverage D

 

INSURING AGREEMENT

_ A. We will pay compensatory damages which an “in-

B.

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sured" is legally entitled to recover from the owner
or operator of an "uninsured motor vehicle" be-
cause of "bodily injury":

1. Sustained by an "insured"; and
2. Caused by an accident..

The owner's. or. operator's liability for these dam-
ages must arise out of the ownership, maintenance
or use of the "uninsured motor vehicle".

Any judgment for damages arising out of a suit
brought without our written consent is not binding
on us. °
"Insured" as used in this coverage means:

1. You or any "family member".

2. Any other person "occupying" “your covered
auto". :

3. Any person for damages that person is entitled
to recover because of "bodily injury" to which
this coverage applies sustained by a person de-
scribed in 1. or 2. above.

C. “Uninsured motor vehicle" means a land motor
vehicle or trailer of any type:

1. To which no bodily injury liability bondor
policy applies’at the time of the accident.
2. To which a bodily injury liability bond or pol-
icy applies at the time of the accident. In this
case its limits for bodily injury liability must
be less than the minimum limits for bodily in-
jury liability specified by the financial respon-
sibility law of the state in which "your covered
auto" is principally garaged.
3. Which is a hit and run vehicle whose operator
or owner cannot be identified and: which hits:
you or any. "family member";
a vehicle which you or any "family mem-
ber" are "occupying"; or

c. "your covered auto". .

4. To which a bodily injury liability bond or pol-
icy applies at the time of the accident but the
bonding or insuring companiy: .

a. denies coverage; or .

b. is or becomes insolvent.

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Cas
Flowever, “aninsured motor vehicle" does not in-

clude any vehicle or equipment:

1. Owned by or furnished or available for the
regular use of you or any "family member".

2. Owned or operated by a self-insurer under any
applicable motor vehicle law.

Owned by any governmental unit or agency.
4, Operated on rails or crawler treads.

5. Designed mainly for use off public roads while
not on public roads.

6. While located for use as a residence or prem-
ises.

EXCLUSIONS —

A. We do not provide Uninsured Motorists Coverage

for "bodily injury"-sustained by any person:

1. - While "occupying", or when struck by, any
motor vehicle owned by you or any "family
member" which is not insured for.this coverage
under this policy. This includes a trailer of any
typet used with that vehicle.

2. If that person or the legal representative settles
the "bodily injury" claim without our consent.

3. While "occupying" “your covered auto" when
it is being used to carry persons or property. -
for a fee. This exclusion (A.3.) does not apply
to a share-the-expense car pool.

4. Using a vehicle without a reasonable belief
that that person is entitled to do so.

B. This coverage shall not apply directly or indirectly
to benefit any insurer or self-insurer under any of
the following or similar law:

1. workers! compensation law; or

2.x disability benefits law.

QO :

We do not provide Uninsured Motorists Coverage
for punitive or exemplary damages including legal
costs related thereto.

LIMIT OF LIABILITY |

- A. Single Limit

If the Declarations show a single limit of liability
for Coverage D, this limit is our maximum limit of
liability for all damages for "bodily injury" result-

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ing from any one accident. This is the most we will
pay. regardless of the number of: -

1. “Insureds";
2. Claims made;

3. ‘Vehicles or premiums shown in the Declata-
tions; or

4. Vehicles involved in the accident.

. Split Limits

If the Declarations show separate limits of liability
for each person and‘each accident, the limit of li-
ability shown for each person for Uninsured Mo-
torists Coverage is our maximum limit of liability
for all damages, including damages for care, loss
of services or death, arising out of "bodily injury"

‘Sustained by any oné person in any one accident.

Subject to this limit for each person, the limit of li-
ability shown in the Declarations for each accident
for Uninsured. Motorists Coverage is our maximum
limit of liability for all damages for “bodily injury"
resulting from any one.accident. These limits are.
the most we will pay regardless of the.

number of:

1. "Insureds";

2. Claims made;

3. Vehicles or premiums shown in the Declara-

tions; or

' 4.:\ Vehicles involved in the accident.

' Any amounts otherwise payable for damages under.

this coverage shall be reduced by all sums:

1. Paid because of the "bodily injury" by or on
behalf of persons or organizations who may be
legally responsible. This includes all sums * pad
under Coverage A; and: |

2. Paid or payable because of the "bodily injury"
under any of the following or similar law:

a. workers' compensation law; or
b. disability benefits law.

Any payment under this coverage will reduce any
amount that person is entitled to recover for the

_ same damages under Coverage A.

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OTHER INSURANCE

2. Bear the expenses of the third arbitrator
If there is other applicable similar insurance we will equally.

pay only our share of the loss. Our share is the propor-

tion that our limit of liability bears to the total of all
applicable limits. However, any insurance we provide
with respect to a vehicle you do not own shall be ex-
cess over any other collectible insurance.

ARBITRATION 1.

A. If we and an "insured" do not agree:

C. Unless both parties agree otherwise, arbitration
will take place in the county in which the "insured".
lives. Local rules of law as to procedure and evi-
dence will apply. A decision agreed to by two of
the arbitrators will be binding as to:

Whether the "insured" is legally entitled to re-
cover damages; and

2. The amount of damages. This applies only if
the amount does not exceed the minimum limit
for bodily injury liability specified by the fi-

1. Whether that person is legally entitled to re-
cover damages under this coverage; or

2. As to the amount of damages which are recov-
erable by that "insured" from the owner or op-
erator of an "uninsured motor vehicle".

either party may make a written demand for arbi-
tration. In this event, each party will select an ar-

nancial responsibility law of the state in which
“your covered auto" is principally garaged. If

the amount exceeds that limit, either party may

demand the right to a trial. This demand must
be made within 60 days of the arbitrators’ de-

cision. If this demand is not made, the amount
- of damages agreed to by the arbitrators will be
. binding. : °

bitrator. The two arbitrators will select a third. If
they cannot agree within 30 days, either may re-
quest that selection be made by a judge of a court
having jurisdiction.

B. Each party will:

D. Instead of this method, we and the "insured" may
agree to use another method of arbitration.

1. Pay the expenses it incurs; and

 

* DAMAGE TO YOUR AUTO
Coverage E - Collision
Coverage F - Comprehensive
. _ , (Other than Collision)
Coverage G - Extended Transportation Expenses
Coverage | - Towing and Labor. Costs

 

If there is such a loss to a “non-owned auto", we
will provide the broadest coverage applicable to
any "your covered auto" shown in the Declara-

INSURING AGREEMENT

A. Collision and Comprehensive (Other than Colli-
Sion). We will pay for direct and accidental loss to tions. We will not subtract any deductible amount

_ "your covered auto" or any "non-owned auto", in- from the amount we will pay for a loss to a “non
cluding their equipment. We will pay for such loss m oy We Wa Pay :

to “your covered auto" minus any applicable de- owned auto". Co
ductible shown in the Declarations. We will pay B. Extended Transportation Expenses. When there
for loss to "your covered auto" caused by: is a loss to a “your covered auto" described in the
Declarations for which a specific premium charge
indicates that Coverage G - Extended Transporta-
tion Expenses is afforded, or to a "non-owned .
auto", we will pay, without application of a de-
ductible, up to the amount per day to a maximum
amount as shown in the Declarations for:

1. "Collision" only if the Declarations indicate
that Coverage E - Collision is provided for that
auto. ,

2. Other than "collision" only if the Declarations
indicate that Coverage F - Comprehensive is
provided for that auto.

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1. Transportation expenses incurred by you.

2. Loss of use expenses for which you become
legally responsible in the event of loss to a
“non-owned auto".

This coverage applies only if:

1. "Your covered auto" or the "non-owned auto"
is withdrawn from use for more than 24 hours;
and

2. The loss is caused by "collision" or is covered
under Coverage F - Comprehensive of this
policy.

_ However, this coverage does not apply when there

is a total theft of "your covered auto" or a "non-
owned auto". Such coverage is provided under
Coverage F of this policy.

Our payment will be limited to that period of time
reasonably required to repair or replace the "your
covered auto" or the "non-owned auto".

- Towing and Labor Costs. We will pay towing

and labor costs incurred each time "your covered
auto" or any “non-owned auto" is disabled, up to
the limit of liability shown in the Declarations for
Coverage I - Towing and Labor Costs as applica-
ble to that vehicle. If a "non-owned auto" is dis-
abled, we will provide the broadest towing and

- labor costs coverage applicable to any “your coy-

ered auto" shown in the Declarations. We will only
pay for labor performed at the place of disable-
ment. ,

- "Collision" means the upset of “your covered auto"

or a "non-owned auto" or their impact with another
vehicle or object. Loss caused by the following is
considered other.than "collision":

1. Missiles or 6. Hail, water or flood;

falling objects;
2. Fire; 7.. Malicious mischief
or vandalism; —

Theft or larceny; 8. Riot or civil commotion;

9. Contact with bird or
animal; or

4. Explosion or
Earthquake;

5. Windstorm; 10. Breakage of glass.

If breakage of glass is. caused by a "collision" you
may elect to have it considered a loss caused by
“collision”.

E.

"Non-owned auto" means:

1. Any private passenger auto, pickup, van or
"trailer" not owned by or furnished or avail-
able for the regular use of you or any "family
member" while in the custody of or being op-
erated by you or any "family member"; or

2. Any auto or "trailer" you.do not own while
used as a temporary substitute for “your cov-
ered auto" which is out of normal use becaus
of its:

a. breakdown; d. loss; or

b. repair; - €. destruction.

c. servicing;

TRANSPORTATION EXPENSES

In addition, under Coverage F, we will pay, without
application of a deductible, up to the greater of the
following amounts:

1. $15 per day, toa maximum of $450; or

2. Fora “your covered auto”, the amount per day,
to a maximum amount sliown, if any, on the.
Declarations for Coverage G for that specific
"your covered auto"; or

3. For a “non-owned atito", the amount per day,
to a maximum amount shown, if any; on the °
Declarations for Coverage G for any one "your
covered auto". 7

This applies only in the event of the total theft of
"your covered auto" or a "non-owned auto". The
coverage applies to a "your covered auto" only
when the Declarations show that Coverage F is
provided for that specific: "your covered auto". The-
coverage applies to a "non-owned auto" if the
Declarations show that Coverage F is provided for
any "your covered auto". Oo

We will pay:

1.

Transportation expenses incurred by you in the

event of the total theft of "your covered auto"; or

Loss of use expenses for which you become legally
responsible in the event of a total theft of a “non-
owned auto".

We will pay only those expenses incurred during the.
period: -

1. Beginning 48 hours after the theft; and

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2. Ending when "your covered auto" or the "non-

owned auto" is returned fo use, or, we pay or offer
to pay for its loss.

EXCLUSIONS
We will not pay for:

1.

Loss to "your covered auto” or any "non-owned
auto" which occurs while it is being used to carry
persons or property for a fee. This exclusion (1.)
does not apply to a share-the-expense car pool.

_Damage due and confined to:

a. wear and tear;
b. freezing;

c. mechanical or electrical breakdown or failure;
or "

d. road damage to tires.

This exclusion (2.) does not apply if the damage |
results from the total theft of "your covered auto"
or any "non-owned auto".

Loss due to or as a consequence of:
a. radioactive contamination;

b. .discharge of any nuclear weapon (even if acci-
_ dental); .

‘c. ‘war (declared or undeclared);

d: - civil war;.

e. insurrection; or

£. rebellion or revolution.

Loss to equipment designed for the reproduction of

sound and any accessories used with such equip-
ment. This exclusion (4.) does not apply if the.
equipment is permanently installed in “your cov-
ered auto" or any "non-owned auto".

Loss to tapes, records or other devices for use with
equipment designed for the reproduction of sound.

Loss to a camper body or “trailer” you own which
is not shown in the Declarations. This exclusion
(6.) does not apply to a camper body or "trailer"
you: ,

a.. -acquire during the policy period; and

b. ask us.to insure within 30 days after you be-
come the owner.

7.

10.

11.

12.

a. ‘selling;

toy . ; w
Loss to any "non-owned auto" when used by you
or any "family member" without a reasonable be-
lief that you or that "family member" are entitled to
do so.

Loss to:
TV antennas;
b. awnings or cabanas; or

c. equipment designed to create additional living
- facilities.

Loss to any of the following or their accessories:
a. citizens band radio; .

b. two-way mobile radio; |

c. telephone; or

d. scanning monitor receiver.

This exclusion (9.) does not apply if the equipment
is permanently installed in the opening of the dash
or console of “your covered auto" or any “non-
owned auto". This opening must be normally used.
by the auto manufacturer for tlie installation of a"
radio.

Loss to equipment designed or used for the detec-
tion or location of.radar or laser.

Loss to any "non-owned auto" being maintained or
used by any person while employed or otherwise
engaged in the "business" of:

d. storing; or

b. repairing; e. parking;

c. servicing;

vehicles designed for use on public highways. This
includes road testing and delivery.

Loss to any "non-owned auto" being maintained or
used by any person while employed or otherwise
engaged in any "business" not described ‘in exclu-
sion 11. This exclusion (12.) does not apply to the
maintenance or use by you or any "family mem-
ber" of a "non-owned auto" which is a private pas-

. Senger auto or "trailer".
13.

Loss to “your covered auto" or any "non-owned
auto" due to destruction or confiscation by gov- _
ernment or civil authorities because you or any
"family member":

a. engaged in illegal activities; or

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b. failed to comply with Environmental Protec-
tion Agency or Department of Transportation
standards.

This exclusion (13.) does not apply to the interests
of Loss Payees in "your covered auto".

14. Loss to "your covered auto" or any "non-owned
auto", located inside a facility designed for racing, |
for the purpose of:

a. competing in; or

b. practicing or preparing for;

any prearranged or organized racing or speed con- _

test.

15. Loss to, or loss of use of, a “non-owned auto"
rented by:
a. you; or” -
b. any “family member";
if a rental vehicle company is precluded from 1 re-
covering such loss or loss of use, from you or that

"family member", pursuant to the provisions of any
applicable rental agreement or state law.

LIMIT OF LIABILITY _
A. Our limit of liability for loss will be the lesser of
the: . _ ;

1." Actual-cash value of the stolen or damaged
property; or -

2. Amount necessary to repair or replace the
property with other property of like kind and
quality.

However, the most we will pay for loss to. any

“non-owned auto" which is a "trailer" is $500.

#

An adjustment for depreciation and physical con-
dition will be made in determining actual cash
_Value at the time of loss.

Note: Our Limit of Liability under Damage to Your
Auto does not extend to any loss in market or resale
value which may result-from a direct and accidental
loss to "your covered auto" or any. "non-owned auto".

. PAYMENT OF LOSS

We may pay for loss in money or repair or Teplace the
damaged or stolen property. We may, at our expense,
return any stolen property to:

1. You; or

2. The address shown in this policy.

If we return stolen property we will pay for any dam-
age resulting from the theft. We may keep all or part of
the property at an agreed or appraised value.

LOSS PAYABLE CLAUSE

Loss or damage under this policy shall be paid, as in-
terest may appear, to you and the loss payee shown in
the Declarations. This insurance with respect to the
interest of the loss payee, shall not become invalid be-
cause of your fraudulent acts or omissions unless the
loss results from your conversion, secretion or embez-
zlement of "your covered auto". However, we reserve
the right to cancel the policy as permitted by policy
terms and the cancellation shall terminate this agree-
ment as to the loss payee's interest. We will mail the
loss payee written notice at least 10 days before the
effective date of cancellation.

When we pay the loss payee we shall, to the extent of

. payment, be subrogated to the loss payee’ $ rights of ~

recovery.
NO BENEFIT TO BAILEE

This insurance shall not directly Or indirectly benefit
any carrier or other bailee for hire.

OTHER SOURCES OF.RECOVERY

If other sources of recovery also cover the loss, we will
pay only our share of the loss. Our share i is the propor-
tion that our limit of liability bears to the total of all

"applicable limits. However, any insurance we provide

with respect to a "non-owned auto" shall be excess
over any other collectible source of recovery including,
but not limited to:

I. any coverage provided by the owner of the "non-
owned auto";

2. any other applicable physical damage insurance;

3. any other source of recovery applicable to the loss.

APPRAISAL

A. If we and you do not agree on the amount of loss,
either may demand an appraisal of the loss. In this
event, each party will select a competent appraiser.
The two appraisers will select an umpire. The ap-
praisers will state separately the actual cash value
and the amount of loss. If they-fail to agree, they
will submit their differences to the umpire. A deci-

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sion agreed to by any two will be binding. Each
party will: .
J. Pay its chosen appraiser; and.

“ aren to, ol. 4
2. Bear the expenses of the appraisal and umpire
equally.
B. We do not waive any of our rights under this pol-
icy by agreeing to an appraisal.

 

DUTIES AFTER AN ACCIDENT OR LOSS

 

GENERAL DUTIES

We have no duty to provide coverage under this policy
unless there has been full compliance with the follow-
_ ing duties:

A. We must be notified promptly of how, when and
where the accident or loss happened: Notice should
also include the names and addresses of any in-
jured persons and of any witnesses.

B. A person seeking any coverage must:

1. Cooperate with us in the investigation, settle-
ment or defense of any claim or suit.

2. Promptly send us copies of any notices or legal
papers received in connection with the accident
or loss.

3. Submit, as often as we reasonably require: ”

a. to physical exams by physicians we select.
We will pay for these exams.

b. to examination under oath and subscribe
the same. _

4. Authorize us to obtain:
a. medical reports; and
b. other pertinent records.

5.. Submit a proof of loss when required by us.

ADDITIONAL DUTIES FOR UNINSURED
MOTORISTS COVERAGE

A person seeking Uninsured Motorists Coverage must
also:

1. Promptly notify the police if a hit and run
driver is involved.

2. Promptly send us copies of the legal papers if
a suit is brought.

ADDITIONAL DUTIES FOR COLLISION AND
COMPREHENSIVE COVERAGES ~

A person seeking coverage for Collision. or Compre-
hensive (Other than Collision) must also:

1. Take reasonable steps after loss to protect:
"your covered auto" or any “non-owned auto"
and their equipment from further loss. We-will -
pay reasonable expenses incurred to do this.

2. Promptly notify the police if "your covered.
auto" or any “non-owned auto" is stolen. __

3. Permit us to inspect and appraise the damaged | .
property before its repair or disposal.

 

TENERAL PROVISIONS

 

BANKRUPTCY

Bankruptcy or insolvency of the "insured" shall not
relieve us of any obligations under this policy.

CHANGES

A. This policy contains all the agreements between
you and us. Its terms may not be changed or
waived except by endorsement issued by us.

B. If there is a change to the. information used to de-
velop the policy premium, we may adjust your - -
premium. Changes during the policy term that may
result in a premium increase or decrease include,
but are not limited to, changes in:

1. The number, type or use classification of in-
sured vehicles;

2. Operators using insured vehicles;

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3. The place of principal garaging of insured ve-
hicles;

4. Coverage, deductible or limits.

Ifa change resulting from A. or B. requires a pre-
mium adjustment, we will make the premium ad-
justment in accordance with our manual rules.

C. If we make a change which broadens coverage un-
der this edition of your policy without additional
premium charge, that change will automatically
apply to your policy as of the date we implement
the change in your state. This paragraph (C.) does

“not apply to changes implemented with a general
program revision that includes both broadenings
and restrictions in coverage, whether that general
program revision is implemented through intro-
duction of: —
lA subsequent edition of your policy; or
2. An Amendatory Endorsement.

FRAUD.

We do not provide coverage for any "insured" who has
made fraudulent statements or engaged in fraudulent -
conduct in connection with any accident or loss for
which coverage is sought under this policy.

LEGAL ACTION AGAINST US

A. No legal action may be brought against us until

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there has been full compliance with all the terms of
this policy. In addition, under the Liability Cover-
ages, no legal action may be brought against us
until: — ;

1. We agree in writing that the "insured" has an
obligation to pay; or ,

2. The amount'of that obligation has been finally
determined by judgment after trial.

we

No person or organization has any right under this
policy to bring us into any action to determine the
liability of an “insured”.

OUR RIGHT TO RECOVER PAYMENT

A. If we make'a payment under this policy and the
person to or for whom payment was made has a
right to recover damages from another we shall be
subrogated to that right. That person shall do:

1." Whatever is hecessary to enable us to exercise
our rights; and Lo:

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2. Nothing after loss to prejudice them.

However, our rights in this paragraph (A.) do not
apply, under the Damage to Your Auto Coverages,
against any person using "your covered auto" with
a reasonable belief that that person is entitled'to do
so.

. If we make a payment under this policy and the

person to or for whom payment is made recovers
damages from another, that person shall:

1. Hold in trust for us the proceeds of the recov-
ery; and

2. Reimburse us to the extent of our payment less
reasonable attorney fees and a proportionate
share of the cost of recovery.

' POLICY PERIOD AND TERRITORY

A. This policy applies only to accidents and losses

which occur:

1. During the policy period as shown in the Dec-
larations; arid -

2. Within the policy territory.

. The policy period, and each successive policy pe-

riod, begins and ends at 12:01 a.m. standard time
at your address. Oe |

- The policy territory is:
1. The United States of America, its territories or
Possessions;
2. Puerto Rico; or
3. Canada.

This policy also applies to loss to, or accidents in-
volving, "your covered auto" while being trans-
ported between their ports.

TERMINATION

A. Cancellation. This policy may be cancelled during

the policy period as follows:

1. The named insured shown in the Declarations
" may cancel by: oe :

a. returning this policy to us; or

b. giving us advance written notice of the .
date cancellation is to take effect.

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2. We may cancel by mailing to the named in-
sured shown in the Declarations at the address
shown there:

a. at least 10. days notice of cancellation:

(1) if cancellation is for nonpayment of
premium; or

(2) if notice is mailed during the first 60
days this policy is in effect and this is
not a continuation policy; or

b. at least 30 days notice in all other cases.

3. After this policy is in effect for 60 days, or if
this is a continuation policy, we will cancel
only:

for nonpayment of premium; or
b. if your driver's license or that of:
(1) any driver who lives with you; or

(2) any driver who customarily uses "your
covered auto";

has been suspended or ‘revoked. This must
have qccurred:

(1) ‘during the policy period: or —

(2) since the last anniversary of thé origi-

‘nal-effective date if the policy period is.

other than 1 year; or

c. ifthe policy was obtained through material
misrepresentation.

4. Nonpayment of Premium. Nonpayment of

me tt fo, av.
policy will automatically terminate without notice
of termination at the end of the current policy pe-
riod. Failure to pay the required continuation pre-
mium when due shall mean that you have not
accepted our offer. .

If you obtain other insurance on "your covered
auto", any similar insurance provided by this pol-
icy will terminate as. to that auto on the effective
date of the other insurance.

. Other Termination Provisions.

1. If the law in effect in your state at the time this
policy is issued or continued:

a. requires a longer notice period;

b. requires a special form or procedure for
giving notice; or

c. modifies any of the stated termination rea-
sons; -

we will comply with those requirements.

2. Wemay deliver any notice instead of mailing
it. Proof of mailing of any notice shall be suf-
ficient proof of notice.

3. If this policy is cancelled, you may be entitled
to a premium refund. If so, we will send you -
the refund. The premium refund, if any, will be
computed according to our manuals. However,

. making or offering to make the refund is not a
condition of cancellation.

4. The effective date of cancellation stated in the
notice shall become the end of the policy pe-

premium shall mean failure to pay any-pre- riod.
mium or. premium installment when due.
whether payable directly to us or through a renee OF YOUR INTEREST IN THIS

premium financing plan or credit extension. oF
A. Your rights and duties under this policy may not be

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B. Non Renewal. If we decide not to renew or con-

‘tinue this policy, we will mail notice to the named
insured shown in the Declarations at the address
shown there. Notice will be mailed at least 30 days
before the end of the policy period. If the policy
period is other than 1 year, we will have the right
not to continue it only at each anniversary of its
original effective date. If that date is the 29th,

30th, or 31st of a month, we may consider the first -

day of the next month to be this anniversary.

. Automatic Termination. If we offer to continue

and you or your representative do not accept, this

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assigned without our written consent. However, if
a named insured shown in the Declarations dies,
coverage will be provided for:

1. The surviving spouse if resident in the same
household at the time of death. Coverage ap-
plies to the spouse as if a named insured
shown in the Declarations; and

2. The legal representative of the deceased person
as if a named insured shown in the Declara-
tions. This applies only with respect to the rep-

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resentative's legal responsibility to maintain or TWO OR MORE AUTO POLICIES

i " .
use “your covered auto”. If this policy and any other auto insurance policy is-

B. Coverage will only be provided until the next anni- sued to you by us apply to the same accident, the
versary of the policy's original effective date. maximum limit of our liability under all the policies
shall not exceed the highest applicable limit of liability
under any one policy.

This policy is signed for the member company of Travelers which is the insurer under this policy.

Bruce A. Backberg Joseph Lacher
Senior Vice President and Chief Executive Officer
Corporate Secretary _ Personal Lines

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AMENDMENT OF POLICY PROVISIONS - PENNSYLVANIA

 

I. DEFINITIONS
The Definitions section is amended as follows:

A. The following definitions are added:

"Serious injury" means a personal injury resulting
in death, serious impairment of body function or
permanent serious disfigurement.

“Economic loss" means medical and other out-of-
pocket expenses.

"Noneconomic loss" means pain and suffering and
other nonmonetary damages.

Il. TORT LIABILITY INSURANCE OPTIONS
The following provisions are added: |

-A. LIMITED TORT OPTION

If the Declarations shows that Coverage QA is
provided, the Limited Tort Option applies. Each
"insured" who is bound by this option may seek
compensation only for "economic loss" suffered

because of "bodily injury" caused by accident as
the consequence of the fault of another person,
However, each "insured" may recover damages as
if the "insured" damaged had elected the Full Tort
Option:

1. Ifthe bodily i injury suffered i is a “serious in-
jury"; or

2. With respect to claims against a person in the

business of designing, manufacturing, re-
“ pairing, servicing or otherwise maintaining

motor vehicles arising out of a defect in such
-motor vehicle which is caused by or not cor-
rected by an act or omission, in the course of
such business, other than a defect in a motor
vehicle which is operated by such business; or

' 3. iIfi injured while occupying a motor vehicle
. other than a private passenger motor vehicle
as defined in the Pennsylvania Motor Vehicle
Financial Responsibility Law of 1984, as
amended; or

4. ‘Ifthe person at fault:

a. is convicted, or accepts Accelerated Re-
habilitative Disposition for driving under
the influence of alcohol or a controlled
substance in that accident; or

b. is operating a motor vehicle registered in
another state; or

c. intends to cause intentional injury; or

has not maintained financial responsibil-
ity as required by Pennsylvania law;

provided that nothing in Paragraphs a. through d.
shall affect the limitation placed on a person

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against recovering noneconomic damages under
Uninsured Motorists or Underinsured Motorists
Coverage.

FULL TORT OPTION

If the Declarations shows that Coverage QB is
provided, the Full Tort Option applies. Each “in-
sured" bound by this option may seek compensa-
tion for "noneconomic loss" claimed and

"economic loss" suffered because of bodily injury
caused by accident as the consequence of the fault
of another person.

WHO IS AN INSURED
As used in this section (II), an "insured" means
you, any "family member" or a minor in the cus-

. tody of either you or any "family member".

OTHER INSURANCE

1. Ifyou are an "insured" under more than one
liability insurance policy, and the policies
have conflicting tort options, the policy pro-
viding the Full Tort Option applies.

2. Ifan "insured", other than you, is covered by
more than one liability insurance policy, and
the policies have conflicting tort options: -

a. The "insured" is bound by the tort option
of the policy associated with the motor
. vehicle the "insured" is "occupying" at
the time of the accident.

b. The Full Tort Option applies if the in-
sured is not "occupying" a motor vehicle
at the time of the accident.

Ill. LIABILITY-COVERAGE A AND COVERAGE B
The Liability section is amended as follows:

- A. Paragraph A. of the Insuring Agreement is re-

_ Placed by the following:

A. Wewill pay damages for "bodily injury" or
: "property damage" for which any "insured"

becomes legally responsible because of an
auto accident. We will settle or defend, as we
consider appropriate, any claim or suit asking
for these damages. In addition to our limit of
liability, we will pay all defense costs we in-
cur. Our duty to settle or defend ends when
our limit of liability for this coverage has
been exhausted. We have no duty to defend
any suit or settle any claim for "bodily injury"
or "property damage" not t covered under this
policy.

B. The following is added to the Supplementary

Payments Provision:

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6. Prejudgment interest awarded against the "in-
sured" on the part of the judgment we pay.
Any prejudgment interest awarded against the
"insured" is subject to the applicable Pennsyl-
vania Rules of Civil Procedure. _

IV. MEDICAL PAYMENTS - COVERAGE C

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The last sentence of Section A of the Insuring Agree-
ment does not apply to funeral expenses.

GENERAL PROVISIONS
The General Provisions are amended as follows:

A. Sections A., B., and C. of the Termination provi-
sion are replaced as follows:

A. Cancellation. This policy may be cancelled
during the policy period as follows: |

1. The named insured shown on the Decla-
rations may cancel by:

‘a. “Returning this policy to us; or

b. Giving us advance written notice of
the date cancellation is to take effect.

"2. ‘We may cancel by mailing to the named
insured shown in the Declarations at the
-addréss shown in this policy:
At least 15 days notice of cancella-
_tion:

(1) if notice is effective within the
first 60 days this policy is in ef-
fect and this is not a renewal or
continuation policy;

(2) For nonpayment of premium;

(3) Ifthe driver’ s license of the
named insured shown in the
Declarations has been suspended
or revoked after thie éffective
date if this policy-has‘been in
effect less than one year; or if
the policy has been in effect
longer than one year, since the
last anniversary of the. original
effective date; or

b. At least 60 days notice if the policy
_.was obtained through material mis-
representation. |

_ Our right to cancel this policy is subject to the
limitations contained in the applicable Penn-
sylvania Statutes.

B. Nonrenewal. If we decide not to renew or
continue this policy; we will mail notice at
least 60 days-before the expiration date of the
policy to the named insured shown in the

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Declarations page at the address shown on
that page.

If the policy period is other than 1 year, we
will have the right not to continue it only at
each anniversary of its original effective date.

If that date is the 29th, 30th, or 31st ofa month,

we may consider the first day of the next
month to be this anniversary.

However, our right to nonrenew this policy is
subject to the limitations contained in the ap-
plicable Pennsylvania Statutes.

C. Automatic Termination. The policy will

automatically terminate on the expiration date

of any annual policy period without notice if
you fail to pay when due any premium in-
stallment for this policy or its continuation
whether payable directly to us, or through a
premium finance plan or credit extention.

This policy, if not already terminated under
the terms of this condition, will automatically
terminate without notice on the effective date
ofany other automobile insurance policy, but
only for any vehicle described i in both poli-

, cies.

B. The following provision is added:

CONSTITUTIONALITY CLAUSE
The premium for, and the.coverages of, this policy
have been established in reliance upon the provi-
sions of the Pennsylvania Motor Vehicle Financial
Responsibility Law. In the event a court, from
which there is no appeal; declares or entersa
judgment the effect of which is to render.the pro-_
visions of such statute invalid or unenforceable in
‘whole or in part, we will have the right to recom-

_ ’ pute the premium payable for the policy and void
or amend the policy provisions, subject to the ap-

‘ * proval of the Insurance Commissioner.

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‘FIRST PARTY BENEFITS COVERAGE - PENNSYLVANIA

 

CRRA A

The provisions of the Policy apply unless modified
by this endorsement.

I. DEFINITIONS

With respect to all First Party Benefits
Coverage:

“The act" means the Pennsylvania Motor
Vehicle Financial Responsibility Law of
1984, as amended.

In addition, the following words and phrases
are defined for all First Party Benefits
coverage.

“Accidental death" means the death of you or
any family member from "bodily injury" caused
by accident, if the death occurs within 24
months from the date of the accident.

“Bodily injury" means accidental bodily harm to
a person and that person’ s resulting illness, dis-
ease or death.

"Funeral expense" means reasonable expenses
incurred for, and directly related to, the
funeral, burial, cremation or other form of dis-
position of the remains of the deceased in-
sured. The expenses must be incurred as a
result of the death of the "insured" and within
24 months from the date of the accident.

"Income loss" means eighty (80%) percent of
gross income actually lost by an "insured". “In-
come loss" also means reasonable expenses ac-
tually ineurred for hiring:

(a) a substitute to perform the work a self-
employed "insured" would have performed
except for "bodily injury”, or

(b) special help, thereby enabling a person to
_work, thereby reducing loss of gross in-
come.

"Income loss" does not include:

(a) loss of expected income for any period fol-
lowing the death of an insured; or

(b) expenses incurred for services performed
following the death of an "insured"; or

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(c) any loss of income during the first five (5)
working days the "insured" did not work
after the accident because of the "bodily in-

/ jury’.
"Insured" means: -
1. you or any "family meniber";
2. any other person:
a. while "occupying" "your covered:
auto"; or
b. whilea pedestrian if injured as a
result of an accident in
Pennsylvania involving "your
covered auto".

If "your covered auto" is parked and un-
occupied it is not a "motor vehicle" in-
volved in an accident unless it was
- parked ina manner as to create an un-
reasonable risk of injury.
"Medical expenses" means reasonable and
necessary charges incurred for:

(a) medical treatment, including but not
limited to: oe
(1) medical, hospital, surgical, nurding and
dental services; -
(2) medications, medical supplies and pros- 7
thetic devices; and

(3) ambulance;

(b) medical and rehabilitative services, includ-
ing but not limited to:

(1).medical care;

(2) licensed physical therapy, vocational
rehabilitation and occupational therapy;
(3) osteopathic, chiropractic, psychiatric
and psychological services; and

(4). -optometric services, speech pathology
and audiology;

(c) non-medical remedial care and treatment
rendered in accordance with a recognized
religious method of healing.

All medical treatment and medical and
rehabilitative services must be provided by or
prescribed by a person or facility approved by
the Department of Health, the equivalent

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governmental agency responsible for health iB.

programs or the accrediting designee of a
department or agency of the state in which
those sefvices are provided.

Payment of "medical expenses" incurred after
18 months from the date of the accident caus-
ing “bodily injury" shall be made only if within
18 months from the date of the accident, it is
ascertainable with reasonable medical prob-
ability that further expenses mayb be incurred as
a result of the injury.

"Motor vehicle” means a self-propelled vehicle,
operated or designed for use upon public

_ roads. However, "motor vehicle" does not in-
clude a vehicle operated:

1.. By muscular power; or

2. On rails or tracks.
"Named insured" means the person or organiza-
tion named in Item 1 in the Declarations.
"Your. covered auto" means a "motor vehicle":

1. to which liability coverage under this
policy applies and for which a specific
premium is charged; and ©

2, for which you maintain Fi irst Party
Benefits coverage: as required under
- "the act".

I. BENEFITS

A COVERAGE QA* — BASIC FIRST

PARTY BENEFIT
COVERAGE QB** - BASIC FIRST

_ PARTY BENEFIT -

*Indicates that the limited tort option
described i in "the act" was selected.

**Indicates that the full tort option
described i in “the: act" was selected.

We will pay Basic First Party Benefits con-

sisting of Basic "Medical Expenses" to or

for an insured who sustains “bodily injury"

caused by accident arising out of the main-

tenance:or use. of.a "motor vehicle". Our

Limit of Liability for Basic "Medical Expen-
. ses" is $5,000.

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COVERAGE R - ADDED FIRST PARTY
BENEFITS

If Coverage R appears in the Declarations,
we will pay in addition to the Basic First ©

Party Benefit, Added First Party Benefits
to or for an "insured" who sustains "bodily
injury” caused by an accident arising out of |

the maintenance or use of a "motor

vehicle". Added First Party Benefits consist
of the following if shown as applicable in
the Declarations:

1. Increased "medical expenses";

2. "Income loss";

3. "Funeral expense"; and

4. “Accidental death’.

1. Option A (INCREASED MEDICAL —
EXPENSES). This option applies if op-
tion "A4", "A5", "A6", or "A7" appears

in the Declarations following Coverage

R. :

. The Limit of Liability for the Basic
Medical Expenses is increased to the ..
amount shown in the following
schedule for the "A" option shown i in
the Declarations.

A Option Schedule :

Option _ Amount -
A4 $10,000
AS $25,000
A6 $50,000
A7 $100,000

2. Option B (INCOME LOSS). This op-
tion applies if option "B4", "B5", "B6",
"B7", or "B8" appears in the Declara-
tions following Coverage R:

The Limit of Liability for "income loss"
is the "Maximum Amount" shown in
the following schedule for the "B" op-
tion shown in the Declarations. The
Limit of Liability for any one month is
the "Monthly Amount" shown for that
option in the following schedule. °

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B Option Schedule

Maximum Monthly

. Option Amount Amount
B4 | $15,000 = $1,500
BS $5,000 $1,000
B6 $15,000 $1,000
B7 $25,000 $1,500
B8 $50,000 = = $2,500

Option C (FUNERAL EXPENSE).
This option applies if option "C6" or
"C7" appears in the Declarations fol-

lowing Coverage R.

The Limit of Liability for "funeral ex-
pense” is the amount shown in the fol-
lowing schedule for the "C" option
shown in the Declarations.

C Option Schedule
' Option Amount
C6 $1,500
C7 $2,500

. Option D (ACCIDENTAL DEATH).
- This option applies if option "D6", "D7"

or "D8" appears in the Declarations fol-

-lowing Coverage R. .
« The Limit of Liability for "accidental

death" is the amount shown in the fol-
lowing schedule for the "D" option
shown in the Declarations.

_D Option Schedule

Option - Amount
D6 $5,000
D7 : $10,000
D8 $25,000

. Options H, J, K and L (Combination

First Party Benefits). One of these op-

~ tions apply if option "H" "J" "K", or "L"

appears in the Declarations following
Coverage R.

.. The Limit of Liability for Basic "Medi-

cal Expenses", Increased "Medical Ex-
penses", "Income Loss", "Funeral Ex-
pense" and "Accidental Death"
combined is the amount shown as "total
limit" in the following schedule for the

option shown in the Declarations. The

Page 3 of 5:

"total limit" is the most we will pay as a
result of “bodily injury” to any one "in-
sured" as the result of any one acci-
dent. However, the most we will pay
for:
A. "Funeral Expense" is $2,500..

B. "Accidental Death" is the amount
shown as "Accidental Death"
Benefit in the following schedule
for that option.

HJ Kand L Option Schedule

Total Accidental
Option — Limit Death Benefit
H $50,000 $10,000
J $100,000 $10,000
K $177,500 $25,000
L $277,500 $25,000

We will only pay for expenses or loss incurred
within three years. from the date of the acci-
dent.

EXCLUSIONS

We do not provide benefits for “bodily injury”:
1, Sustained by any person while inten- -
tionally causing © or F attempting to cause
' “bodily injury" t
a. himself;
b. ‘herself; or
c. any other person.

2. Sustained by any person while commit-
ting a felony.

3. Sustained by any person while seeking |
to elude lawful apprehension or arrest
by a law enforcement official.

4. Sustained by any person while main-
taining or using a "motor vehicle" know-
ingly converted by that person. How-
ever, this exclusion (4.) does not apply
to: ,

a. You; or
b. any "family member".

5. Sustained by any person who, at the
time. of the accident: ,
a. is the owner of one or more
registered "motor vehicles" and
none of those "motor vehicles"
have in effect the financial

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responsibility required by "the act",
or
b. -is "occupying" a "motor vehicle"
owned by that person for which the
- financial responsibility required by
"the act" is not in effect.

6. Sustained by any person maintaining or
" using a "motor vehicle" while located
for use as a residence or premises.

7. Sustained by any person injured as a
result of conduct within the course of
-._ the business of repairing, servicing or

otherwise maintaining "motor vehicles".

This exclusion (7.) does not apply if the
conduct is off the business premises.
8. Sustained by a pedestrian if the acci-
' dent’occurs outside of Pennsylvania.
This exclusion (8.) does not apply to:
a. Yousor ~ a
b.” any "faniily member".
9. Sustained by any person while “occupy-
ing":
- a, arecreational vehicle designed for
. use off public roads; or
_ b. ‘amotorcycle, moped or
-Similar-type vehicle.

‘ 10. Caused by or as a consequence of:

- a. discharge of a nuclear weapon
(even if accidental);

' war (declared or undeclared);
civil war;
insurrection; or.
rebellion or revolution. _

PS BP

11. From or asa consequence of the fol-
lowing, whether controlled or uncon-
trolled or however caused: °

a.. nuclear. reaction;

b. radiation; or

c. radioactive contamination.
LIMIT OF LIABILITY

The Limit of Liability for all the First Party

Benefits that apply is the most we will pay to or

for each "insured" as the result of any one acci-
dent. This is the most we will pay regardless of
the number of:

1. Claims made;

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2. Vehicles or premiums shown in the
Declarations;

3. Vehicles involved in the accident; or
4. Insurers providing First Party Benefits.

If combination First Party Benefits are af-
forded, we will apply the total limit of liability
to provide any separate limits required by "the
act" for all First Party Benefits. This provision
will not change our total limit of liability.

Any amount payable under all First Party
Benefits Coverage shall be excess over any
amounts paid, payable or required to be
provided to an "insured" under any workers’
compensation law or similar law.

PRIORITIES OF POLICIES

We will pay all First Party Benefits in accord-
ance with the order of priorities set forth by
“the act". We will not pay if there is another in-
surer at a higher level of priority. The First
category listed below is the highest level of
priority and the Fourth category listed below is
the lowest level of priority. The priority order
iss. ok,

First: The insurer providing benefits
to the "insured" as a “named in-
sured".

Second: The insurer providing benefits

to the "insured" as a "family
member" who is not a "named
insured" under another policy’
_providing coverage under "the
act". . . .

Third: The insurer of the "motor
vehicle" which the "insured" is
_ . "occupying" at the time of the .
“accident. oO
Fourth: . The insurer providing benefits
on any “motor vehicle" involved
' in the accident if the "insured"
is: oo:
_ a apedestrian; and
_ b. not provided first party
_ benefits under any other
~ automobile policy.
In this priority, an unoc-
cupied parked "motor
vehicle" is not a "motor

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vehicle" involved in an acci-
dent unless it was parked in
a manner as to create an un
reasonable risk of injury.

If 2 or more policies have equal priority
within the highest applicable priority level:

1. The insurer against which the claim is

first made shall process and pay the

‘claim, up to its limit of liability, as if
wholly responsible subject to sub-
sequent contribution pro rata from any
other insurer for the benefits paid and
the cost of processing the claim. If such
contribution is sought among insurers
under the Fourth priority, proration
shall be based on the number of in-
volved motor vehicles; and

2. The maximum recovery under all
policies will not exceed the amount pay-
able under the policy with the highest
dollar limits of benefits.

CONDITIONS -

A. Notice. If an.accident occurs, written
notice adequately identifying the insured
and reasonably accessible facts concerning
the time, place and circumstances of the ac-
‘cident shall be given as soon/as practicable
by or on behalf of each insured to us or any
of our authorized agents.

B. Medical Reports; Proof of Claim. As soon
as practicable the insured, or someone on
his or her behalf, shall give.us proof of

. claim, under oath if required, fully describ-

"ing the nature and extent of “bodily injury",

_ treatment and rehabilitation received and ©

' contemplated and other information to as-
sist us in determining the amount due and
payable.

Proof of claim shall be made upon forms
furnished by us unless we fail to supply
such forms within 15 days after receiving
notice of claim.

The "insured" shall submit to mental and
physical examinations by physicians
selected by us when and as often as we may
reasonably require. We will pay the costs
of such examinations.

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The "insured" (or, in the event of such _
person’s incapacity or death, his or her
legal representative) shall, if we request,
sign papers to enable us to obtain medical
reports and copies of records. A copy of
such medical report will be forwarded to
such "insured" upon his or her written re-
quest.

If "income loss" benefits are claimed, the
"insured" presenting such claim shall
authorize.us to obtain details of all earmm-.
ings paid to him-or her by an employer or
earned by him or her since the time of the
. injury or during the year immediately
preceding the date of the accident.

C. Customary Charges For Treatment. The
amount we will pay to a person or institu-
tion providing treatment, accommodation; * *
‘products or services to an insured" for'an :”:
injury covered by benefits for "medical ex-
penseés" shall not exceed the amount the.
person or institution customarily charges
for like treatment, accommodations,
products and services in cases involving 1 no
insurance.

NON-DUPLICATION OF BENEFITS .

No one will be entitled to récover duplicate
payments for the same elements of loss under
this or any other similar automobile.insurance
including self-insurance.

PAYMENT OF ACCIDENTAL. DEATH
BENEFITS

The “accidental death" Benefit under this
policy will be paid to the executor or ad- -
ministrator of the deceased “insured’s" estate.

_ Ifthere is no executor or administrator,

benefits shall be paid to:

1. The deceased “insured’s" surviving spouse;
or

2. Ifthere is no surviving spouse, the |
deceased "insured’s" children; or

3. If there is no surviving spouse or surviving
children, to the deceased “insured’s" estate.

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UNINSURED/UNDERINSURED MOTORISTS ENDORSEMENT - PENNSYLVANIA

 

The provisions of this endorsement replace the Unin-

sured Motorists Insurance. provisions of the policy.
UNINSURED MOTORISTS COVERAGE ©

COVERAGE D6 - UNINSURED MOTORISTS _

(BODILY INJURY) STACKED .

COVERAGE D7 - UNINSURED MOTORISTS
(BODILY INJURY) NON-STACKED |

UNDERINSURED MOTORISTS COVERAGE
COVERAGE D8 - UNDERINSURED

-MOTORISTS (BODILY INJURY) STACKED

COVERAGE D9 - UNDERINSURED .
MOTORISTS.(BODILY INJURY) NON-
STACKED

INSURING AGREEMENT

Either advance payment to the "insured" in
an amount equal to the tentative settlement
within a reasonable period of time after re-
ceipt of notification or we give written
consent to the tentative settlement.

‘No judgment for damages arising out of a suit
brought against the owner or operator of an “unin-
sured motor vehicle" or "underinsured motor vehi-
cle" is binding on us unless we:

Received reasonable notice of the pendency of
the suit resulting in the judgment; and

2. Had a reasonable opportunity to protect our
interests in the suit.

DEFINITIONS

A.

A. ‘We will pay. compensatory damages which an “in-
sured" is legally entitled to recover from the owner
or operator of either an “uninsured motor.vehicle"

or an “underinsured motor vehicle" where such

coverage is indicated as-applicable-in the Schedule
of this endorsement or in the. Declarations, because

of "bodily injury":
1,

2. Caused by an accident.

Sustained by an "msured"; and

The owner's or operator’ s liability for these dam-
ages must arise out of the ownership, maintenarice
or use of the “uninsured motor vehicle" or. the "un-

derinsured motor vehicle".

We will pay under Underinsured Motorists Cover-

age only if 1. or 2. below applies:

1. The limits of liability under any applicable

bodily injury liability bonds or policies have
been exhausted by payment of judgments or

settlements; or

A tentative settlement has been made between

an "insuréd"-and the insurer of the "underin-
sured motor vehicle", subject to our consent to

settle, and we:

a.
such tentative settlement; and

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Have been given prompt written notice of

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"Insured" as used in this endorsement means:

1. You or any "family member";

2. Any other person "occupying" "your. covered
auto" if the occupancy is (or is reasonably be-
- lieved to be) with your permission.

Any person for damages that person is entitled
to recover because of "bodily injury" to which
this coverage applies sustained by a Person ' de-
scribed in 1. or 2. above. "

"Underinsured motor vehicle" 1 means a land motor
vehicle or "trailer" of any type to which a bodily
injury liability bond or policy applies at the time of .
the accident but the amount paid for "bodily in-
jury" under that bond or policy to an "insured" is
not enough to pay the full amount the "insured" is
legally entitled to recover as damages.

However, "underinsured motor vehicle" does not
mean an "uninsured motor vehicle" and does not
include any vehicle or equipment:

1. For which liability coverage is provided under

Coverage A. of this policy. ©

Owned by any governmental unit or agency
except for a Pennsylvania state or municipal
* government unit or agency.

Operated on rails or crawler treads.

»

Designed mainly for use off public roads while
not on public roads.

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5. While located for use as a residence or prem-
ises,

C. "Uninsured motor vehicle" means a land motor
vehicle or "trailer "of any type:

1. To which no bodily injury liability bond or
policy applies at the time of the accident.

2. Which is a hit-and-run vehicle whose operator
or Owner cannot be identified and which hits or

which causes an accident resulting in "bodily
injury" without hitting:

a. You or any “family member";

b. A vehicle which you or any "family mem-

ber" are "occupying"; or

c. "Your covered auto",

If there is no contact with the hit-and-run. vehi-

cle, the facts of the accident must be proved.

3. To which a bodily injury liability bond or pol-

icy applies at the time of the accident but the
bonding or insuring company:

Denies coverage; or
b. Is or becomes:
- (1) insolvent; or

(2) involved in insolvency proceedings:

However, "uninsured motor vehicle" does not mean

an "underinsured motor vehicle" and does not in-
clude any vehicle or equipment:

_1. Owned by or furnished for the regular use

of you or any. “family member".

2. -Owned 67 operated by a self-insurer within
___ the meaning of any applicable motor vehi-

- cle law-except a self-insurer which is or
- becomes:ingolvent.

3. Owned by any governmental unit or
agency except for a Pennsylvania state or
‘Municipal government unit-or agency.

4, Operated on rails or crawler treads.

5. Designed mainly for use off public roads

while not on public roads.

6. While located for use as a residence or
premises. ° ,

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EXCLUSIONS

A. We do not provide Uninsured Motorists Coverage

or Underinsured Motorists Coverage for "bodily
injury" sustained by any "insured": -

1. If that "insured" or the legal representative
settles the bodily injury claim without our
written consent. However, this exclusion (A.1.)
does not apply if such settlement does not ad-
versely affect our rights.

- We do not provide Uninsured Motorists Coverage

or Underinsured Motorists Coverage for bodily
injury sustained:

1. By you while "occupying" or when struck by,
any motor vehicle you own which is not in-
sured for this coverage under this policy. This
includes a "trailer" of any type used with that
vehicle. ° 7 7

2. Bya “family member":

a. Who owns an auto while "occupying", or
when struck by, any motor vehicle owned
by you or any "family member" which is

“niot insured ‘for this coverage under this:
policy. This includes a trailer of any type
' used with that vehicle. [

b. Who does not own an auto, while “occu-
' pying", or when struck by, any motor ve-
hicle you own which is insured for this
coverage on a primary basis under any
other policy. a

. We do not provide Uninsured Motorists Coverage

or Underinsured Motorists Coverage for" bodily

injury" sustained by any "insured":

1. While occupying "your covered auto” when it
is being used as a public or livery conveyance.
This exclusion (C.1.) does not apply toa _
share-the-expense car pool.

2. Using a vehicle without a reasonable belief
that that "insured" is entitled to do so:

. We do not provide Uninsured Motorists Coverage

or Underinsured Motorists Coverage for "non-
economic loss" sustained by any "insured" to

whom the limited tort alternative applies, resulting
from "bodily injury" caused by an accident in-
volving an “uninsured motor vehicle" or an "un-
derinsured motor vehicle" unless the "bodily
injury" sustained is a “serious injury".

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This exclusion (D.) does not apply if that "insured"
is injured while "occupying" a motor vehicle in-
sured under a commercial motor vehicle insurance
policy.

E. This coverage shail not apply directly or indirectly
to benefit any insurer or self-insurer under any of
’ the following or similar law:

1. Workers’ compensation law; or
2. Disability benefits law.

F. We do not provide Uninsured Motorists Coverage
or Underinsured Motorists Coverage for punitive
or exemplary damages: including legal costs related
thereto. .

LIMIT OF LIABILITY

COVERAGE D6 - UNINSURED MOTORISTS
(BODILY INJURY) STACKED

A. Except as provided in paragraph C:

If separate limits of liability for "bodily injury" for
each person and each accident are shown in the
Declarations or Schedule of this endorsement for
Coverage D6:

1. The limit of liability for each person for "bod-
- ily injury" liability is our maximum limit of li-
. ability for all damages for "bodily injury"
sustained by any one person in any-one auto
_ accident.

2. Subject to the above limit for each person, the
- , limit of liability shown for each accident for
- "bodily injury" liability is our maximum limit E
of liability for all damages for "bodily injury"
resulting from any one auto accident. ~

B. Exceptas provided in paragraph C:

Ifa single limit of liability for "bodily injury" li-
ability is shown in the Declarations or Schedule of
this endorsement for Coverage D6, this is our

maximum limit of liability for all damages for F,

"bodily injury" resulting from any one auto acci-
dent.

2. Claims made;

3. Vehicles or premiums shown in the Declara-
tions or Schedule of this endorsement for Cov-
erage D6; or

4. Vehicles involved in the accident.

However, our maximum limit of liability for all
damages arising out of “bodily injury" sustained by
you or any "family member" is the sum of the ap-

plicable limits for all vehicles shown in the Decla-

rations or Schedule of this endorsement for
Coverage D6. For any "insured" other than you or
any "family member", our maximum limit of li-
ability is the limit applicable to the vehicle the "in-
sured" was "occupying" at the time of the accident.
This is the most we will pay regardless of the

- number of:

1. "Insureds"; .

2. Claims made; .

3. Vehicles or premiums shown in the Declara-

tions or Schedule of this endorsement for Cov-
erage D6; or

4. Vehicles involved in the accident.

No one will be entitled to receive duplicate pay-
ments for the same elements of loss under Cover-
age D6 and:

1. Coverage A or Coverage C of this policy; or

2. Any Underinsured Motorists Coverage pro-
vided by this policy.

. We will not make a duplicate payment under Cov-

erage D6 for any.element of loss for;which pay-
ment has been made by or on behalf of persons or
organizations who may be legally responsible.
This includes all payments made to an "insureds"
attorney either directly or as part of the payment
made to the "insured".

We will not pay for any element of loss if a person
is entitled to receive payment for the same element
of loss.

C. .With respect to damages caused by the owner or COVERAGE D7 - UNIN SURED MOTORISTS
operator of an "uninsured motor vehicle", the ap- (BODILY INJURY) NON-STACKED

plicable limit of liability under paragraph A. or B. A
' above is the most we will pay regardless of the .
number of:

1, "Insureds";

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. Except as provided in paragraph Cc:

If separate limits of liability for "bodily injury" for
each person and each accident are shown in the

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Declarations or Schedule of this endorsement for

Coverage D7:

1. The limit of liability for each person for "bod-
ily injury" liability is our maximum limit of li-
ability for all damages for "bodily injury"
sustained by any one person in any one auto
accident.

2. Subject to the above limit for each person, the
limit of liability shown for each accident for
"bodily injury" liability is our maximum limit
of liability for all damages for "bodily injury"
resulting from any one auto accident.

Except as provided in paragraph C:

Ifa single limit of liability for “bodily injury" li-
ability is shown in the Declarations or Schedule of
this endorsement for Coverage'D7, this is our
maximum limit of liability for all. damages for
“bodily injury" resulting from any one auto acci-
dent. -

With respect to darnages caused by the owner or
operator of an "uninsured motor vehicle" the appli-

* cable limit of liability under paragraph A. or B.

above is the most we will pay regardless of the -
number of:

I. "Insureds";
2. Claims made;

3. Vehicles or premiums shown in the Declara-

tions or the Schedule of this endorsement Cov- - -

erage D7; or ~
4, Vehicles involved in the accident.

No one will be entitled to receive duplicate pay-
ments for the same elements of loss under Cover-
age D7 and:

1. Coverage A or Coverage C of this policy; or

2. Any Underinsured Motorists Coverage pro-
vided by this policy.

We will not make a duplicate payment under Cov-
erage D7 for.any element of loss for which pay-
ment has been made by or on behalf of persons or
organizations who may be legally responsible. This
includes all payments made to an “insured's" attor-
ney either directly. or as part of the payment made
to the "insured".

F.

We will not pay for any element of loss if a person
is entitled to receive payment for the same element
of loss.

COVERAGE D8 - UNDERINSURED
MOTORISTS (BODILY INJURY) STACKED

A. Except as provided in paragraph C:

B.

If a separate limits of liability for "bodily injury"
for each person and each accident are shown in the
Declarations or Schedule of this endorsement for
Coverage D8: , -

1. The limit of liability for each person for "bod-
ily injury" liability is our maximum limit of li-
ability for all damages for "bodily injury" «
sustained by any one person in any one auto
accident,

2. Subject to the above limit for each person, the
limit of liability shown for each accident for —
"bodily injury" liability is our maximum limit’
of liability for all damages for “bodily injury"
resulting from any one auto accident.

Except as provided in paragraph C:

Ifa single limit of liability for "bodily injury" li-
ability is shown in the Declarations or Schedule of
this endorsement for Coverage D8, this is our
maximum limit of liability for all damages for ~~
“bodily injury" resulting from any one auto acci-
dent.

With respect-to damages caused by the owner or
operator of an "underinsured motor vehicle", the
applicable limit of liability under paragraph A. or
B. above is the most we will pay regardless of the. -
number of: -

1. "Insureds'';

2. Claims made; .
3, Vehicles or premiums shown in the Declara-

tions or the Schedule of this endorsement for
Coverage D8; of , ,

4. Vehicles involved in the accident.

However, our maximum limit of liability for all dam-
ages arising out of "bodily injury" sustained by you or
any “family member" is the sum of the applicable lim-
its for all vehicles shown in the Declarations or Sched-
ule of this endorsement for Coverage D8. For any
"insured" other than you or any "family member", our
maximum limit of liability is the limit applicable to the

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vehicle the "insured" was "occupying" at the time of

the accident. This is the most we will pay regardless of

the number of:

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.

"Insureds";
2. Claims made;

3. Vehicles or premiums shown in the Declara-
_tions or the Schedule of this endorsement for
Coverage D8; or

4. Vehicles involved in the accident.

D. No one will be entitled to receive duplicate pay-
ments for the same elements of loss under Cover-
age D8 and Coverage A, Coverage C or Coverage
D6 or Coverage D7 of this policy.

E. We will not make a duplicate payment under Cov-
erage D8 for any element of loss for which pay-
ment has been made by or on behalf of persons or
organizations who may be legally responsible.

F. We will not. pay for any element of loss if a person
is entitled to receive payment for the same element
of loss.

COVERAGE D9- UNDERINSURED .
MOTORISTS (BODILY. IN, JURY) NON-
STACKED

A. Except as provided i in paragraph C:

If separate limits of liability for “bodily injury" for
each person and.each accident are shown in the
Declarations or Schedule of this endorsement for
Coverage D9:

1. The limit of liability for each person for "bod-
ily injury" liability is our maximum limit of li-
ability for all damages for “bodily injury"
sustained by any one person in any one auto
accident.

2. Subject to the above limit for each person, the
limit of liability shown for each accident for
“bodily injury" liability is our maximum limit
of liability for all damages for "bodily injury"
resulting from any one auto accident.

B. Except as provided in paragraph C:

If'a single limit of liability for “bodily injury" li-

ability is shown in the Declarations or Schedule of

this endorsement for Coverage.D9, thisis our
. maximum limit of liability for all damages for

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"bodily injury" resulting from any one auto acci-
dent.

C. With respect to damages caused by the owner op-
erator of an "underinsured motor vehicle", the ap-
plicable limit of liability under paragraph A. or B.
above is the most we will pay regardless of the
number of:

1. Insureds";
2. Claims made;

3. Vehicles or premiums shown in the Declara-
tions or the Schedule of this endorsement for
Coverage D9; or

4. Vehicles involved in the accident.

D.. No one will be entitled to receive: duplicate pay-
ments for the same elements of loss under Cover-
age D9 and Coverage A, Coverage C or Coverage
D6 or Coverage D7 of this policy.

E. We will not make a duplicate payment under Cov-
erage D9 for any elenient of loss for which pay-
ment has been made by or on behalf of persons or.
organizations who may be legally responsible.

F. We will not pay for any element of loss if a person
is entitled to receive payment for-the same element
of loss.

OTHER INSURANCE

“If there is.other applicable similar insurance available

under more than one policy or provision of coverage:
The following priorities of recovery apply:

First The Uninsured Motorists Coverage or
Underinsured Motorists Coverage ap-
plicable to the vehicle the "insured"
was "occupying" at the time of the ac-
cident.

Second The policy affording Uninsured Mo-
torists or Underinsured Motorists
Coverage to the "insured" as a "named

insured" or “family member".

1. Under Coverage D7 or D9, when there is ap-
plicable i insurance available under the Fi irst

. priority:

a. The limit of liability applicable to the ve-
hicle the "insured" was “occupying” under
the policy in the First priority, shall first
be exhausted; and

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b. The maximum recovery under all policies
in the Second priority shall not exceed the
amount by which the highest limit for any

- one vehicle under any one policy in the
Second priority exceeds the limit applica-
ble under the policy in the First priority.

2. Under Coverage D7 or D9, when there is no
applicable insurance available under the First
priority, the maximum recovery under all poli-
cies in the Second priority shall not exceed the

highest applicable limit for any one vehicle un-

der any one policy.

If two or more policies have equal priority; the in-
surer against whom the claim is first made shall
process and pay the claim as if wholly responsible
for all insurers with equal priority. The insurer is
thereafter entitled to recover contribution pro rata
from any other insurer for the beriefits paid and the
costs of processing the claim.

If we are the insurer against whom the claim is
first made, we will pay subject to the limit of li-
ability shown in the Schedule or in the Declara-
tions for Uninsured Motorists Coverage or
Underinsured Motorists Coverage, after we and all
other contributing insurers agree:.

1. Whether the "insured" is legally entitled to re-
cover damages from the owner or operator. of
an "uninsured motor vehicle" or "underinsured
motor vehicle"; and

2. As to the amount of damages.

ARBITRATION

A. Ifwe and an "insured" do not agree.

1. Whether the owner or operator of the "unin-
sured motor vehicle" or "underinsured motor
vehicle" is legally liable to that "insured" for
“bodily injury" sustained and caused by an ac-
cident; or

2. The amount of the damages sustained by the
"insured";

either party may make a written demand for arbi-
tration. ,

Issues or questions seeking to interpret language of
this policy or to determine whether or how cover-
age applies to an "insured" may not be arbitrated.
Those issues and questions may not be part of any
submission to the panel of arbitrators. This in-

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cludes, but is not limited to, any issue or questions
on:

1. any person's status as an "insured":
>

2. the stacking of coverages or the amount of
coverage available;

3. the sufficiency of the coverage election made
for this policy or any other coverage election
made, or claimed to have been made, by any
person;

4. the residency: or domicile of any person, in- ©
cluding any person claiming to be an"in-
sured"; .

5. the applicability of a statute of limitations; |
6. our rights and duties;

7. any “insured's" rights and duties under this
policy;

8. the interpretation of defined terms, the insuring .

agreement, exclusions, the limits of. liability,
this arbitration clause, or-any other of the 'pol-
icy's terms and conditions;or ~~ --! *

9. the degree to which either party is bound by a
_ decision made by an arbitration patiel which a
" party claims is outside the scope of the arbi-

’ tration. —

- In the event that a valid written demand for arbi-
tration is made, each party will select an arbitrator -

from the county in which the arbitration is to be
conducted. The two arbitrators will select a third
arbitrator from the same county. If the two arbi-.
trators cannot agree on the third within thirty (30)
days, either party may request a court in the -
county where the arbitration is to be conducted to
make the selection.

C. Each party will:

1. Pay the expenses it incurs; and

2. Bear equally the reasonable expenses of the
third arbitrator.

. Unless agreed otherwise, arbitration will be con-

ducted in the county in which the "insured" lived at
the time of the demand for arbitration. A decision
of the arbitrators will be binding as to:

1. Whether the owner or operator of the "unin-
sured motor vehicle" or “underinsured motor
vehicle” is legally liable to that "insured" for

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“bodily injury" sustained and caused by an ac- 2. Fail to advance payment to the "insured"
cident; or in an amount equal to the tentative settle-
ment within a reasonable period of time

. the , . “eae
2. The amount of the damages sustained by after receipt of notification,

"insured".
If we advance payment to the "insured" in an
amount equal to the tentative settlement within
a reasonable period of time after receipt of no-
Either party may stay arbitration pending final tification:

resolution of whether an issue is properly subject
to arbitration. The execution of any judgment or
award may also be stayed until final resolution is
reached on whether an issue was properly the sub-
ject of arbitration.

GENERAL PROVISIONS

The GENERAL PROVISIONS of the policy are
amended as follows:

A. The following is added to the OUR RIGHT TO
RECOVER PAYMENT provisions:

A decision shall not be binding with respect to any
issue not properly the subject of arbitration.

1. That payment will be separate from any
amount the "insured" is entitled to recover
under the provisions of Underinsured
Motorists Coverage; and .

2. We also have a right to recover the ad-
vanced payment.

B. The following i is added to the TWO OR MORE
AUTO POLICIES provisions:

1. This provision does not apply to Coverage D6
~ Uninsured Motorists (Bodily Injury) Stacked;

C... Our rights do not apply under Paragraph A. , or Coverage D8 - Underinsured Motorists

with respect to Underinsured Motorists Cover- (Bodily Injury) Stacked. ~

age if we. 2. No one will be entitled to receive duplicate

1. Have been given prompt written notice of payments for the same elements of loss under
a tentative settlement between an "insured" Coverage D6 - Uninsured Motorists (Bodily
and the insurer of an "underinsured motor Injury) Stacked; or Coverage D8 - Underin-
vehicle"; and sured Motorists (Bodily Injury) Stacked.

, Schedule

(Applicable only if not shown in the Declarations)

Coverage So Description of Vehicle Limits of Liability Premium

 

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, SUPPLEMENTARY AUTOMOBILE APPLICATION - PENNSYLVANIA
(Te ba completed by the Named Insured or Applicant) TR AVELERS J

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PENNSYLVANIA NOTICE
IMPORTANT NOTICE

insurance companies operating In the Commonwealth of Pennsylvania are required by law to make avallable for
purchase the following benefits for you, your spouse or olher relatives or minors in your custody or in the
custody of your relatives, residing In your household, occupants of your motor vehicle or persons struck by
your motor vehicle:

(1) Medical benefits, up to at least $100,000.

(1.1) Extraordinary medical benefits, from $100,000 to $1,100,000 which may be offered In increments of
$100,000. ,

(2) Income loss benefits, up to at least $2,500 per month up to a maximum of at least $50,000.
i . .

(3) Accidental death benefits, up to at least $25,000,
i .

(4): Funeral benefits, $2,500.

(5) As an alternative to paragraphs (1), (2), (3) and (4), a combination benefit, up to at least $177,500 of
i benefits in the aggregate or benefits payeble up to threa years from the date of the accident, whichever
; occurs first, subject to a Hmit on accidental death benefit of up to $25,000 and a limit on funeral benefit
of $2,500, provided that nothing contained in this subsection shall be construed to limit, reduce, modify
or change the provisions of section 1775(d) (relating to availability of adequate limits).

(8) ‘Uninsured, underinsured and bodily injury lability coverage up to at least $100,000 because of injury to
one person in any one accident and up to at least $300,000 because of injury to two or more persons in
any one accident or, at the option of the Insurer, up to at leest $300,000 in a single limit for these
coverages, except for policies Issued under the Assigned Risk Plan. Also, at least $5,000 for damage to
property of others in any one accident,

Additionally, insurers may offer higher benefit levels than {hose enumerated above as well as additional benefits
However, an insured may elect te purchase lower benefit levels than those enumerated above.

Your signature on this notice or your payment of any renewal premium evidences your actual knowledge and
understanding of the availability of these benefits and limits as well as the benefits and limits you have selected.
If you have any questions or you do not understand all of the various options available to you, contact your
agent or company. If you do not understand any of the provisions contained In this notice, contact your agent
orcompany Defore you sign,

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Signatur ofNamed! . "¢ ( /
THis FOR{Y MUST BE SIGNED AND RET 150, PREASE TAKE THE TIME TO REVIEW AND UNDERSTAND
THE VARIQUS COVERAGES, LIMITS, AND OPTIONS AVAILABLE. THEN INDICATE YOUR CHOICES ON THE
FOLLOWING PAGES. :

 

 

 

 

 

 

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PENNSYLVANIA TORT OPTION SELECTION

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Tdrt Option Selection: You have two options. The first is called the “limited tort” option. By choosing this
option, you save the most money by agreeing to limit your right to sue for pain and suffering. Even if you
choose this option, you still retain a full right to sue for pain and suffering if you sustain a sarious Injury or if you
aré Injured by an uninsured motorist, a vehicle registered out of state or 8 drunk driver who causes an accident.
id, you are never, Under any circumstances, barred fram suing for your unpaid economic losses such as

médical bills oF loss of Income. A “serious injury” is defined in the law as a personal injury resulting in death,
sarlous Impairment of bodily function or permanent serlous disfigurement.

The second option Is called the “full tort” option. By choosing this option, you save less money because you
retain your present unlimited ability to sue for pain and suffering In an accident.

Tho “Pennsylvania Tort Option Seiection Notice to Named insureds” form provided on the next page explains
thése options and provides a cost comparison betwesn what your premium would be with the “limited tort” -
option (Paragraph A) or with the “full tort" option (Paragraph C).

| .

To; choose your tort option, follow the instructions below.

THe law permits you to select a tort option by signing your name on the ‘Pennsylvania Tort Option
Selection Notice To Named insureds” form on the next page.

151 you want the ‘limited tort” option, sign and date Signature Lina |. Otherwise, the law will automatically
assign you to the “full tort" option. a

2.: if you want the “Tull tort” option, sign and dafa Signature Line It, If you make no selection, you will be
j considered to have chosen the “ull tort” option and your policy will automatically reflect the “full tort” option
and premium.

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PENNSYLVANIA TORT OPTION SELECTION

 

 

 

 

NOTICE TO NAMED INSUREDS

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Az ‘Limited Tort" Option A The tawe of the Commonwesith of Pennsylvania give you the right to choose & form
1 of Insurance that limits your right and the right of members of your household to seek financial
' eompensation for injuries caused by other drivers Under this form of insurance, you and other household
; members covered under this policy may seek recovery for all medical and other out-of-pockel expenses,
| but not for pain and suffering or other nonmonetary damages unless the injuries suffered fall. within the
defnition of "serious injury” as set forth in the policy, or unless one of several other exceptions noted in the
policy applies. The semi-annual premium for the timits you have selected for this “llmlited tart”

| option jg 3158700 °

| Please note, the minimum limits required by the laws of the Commonweaith of Pennsylvania are Bodily
i Injury,.$15,000 each person, $30,000 each accident; Property Damage. $5,000 each accident; and First
_ Party Medical, $5,000.

Additional coverages under this option are available at additional cost.

B.! If you wish to choose the “limited fort” option described in paragraph A you must sign this notice where
| indicated below and return it. if you do not sign and return this notica, you will be considered to have
' chosen “full tort” coverage as described in paragraph C and you will be charged the “full tort" premium.

$

| { wish to choose imited tort optiog described in paragraph A.

! , . : : “
Slgnature Line I. Sa ; > wave de ?

to Namgd insured ( Date

G, "Full Tort” Option e laws of the Commonwealth of Pennsylvania also give you the right to choose a
: form of insurance ufder which you maintain an unrestricted right for you and the members of your ~
i household to seek financial compensation for injuries caused by other drivers. Under this form of insurance.
_: you and other household members covered under this policy may seek recovery for all medical and other
, out-of-pocket expenses and may 5[so seek financial compensation for paln and suffering and other
| nonmonetary damages as a result of injuries caused by other drivers. The semi-annual premium for
the limite you have selected for this “full tort” option is 51820 .

Please note, the minimum limits required by the laws of the Commonwealth of Pennsylvania are: Bodily
injury. $15,000 each person, $30,000 each accident: Property Damage, $5,000 each accident; and First
Party Medical, $5,000. .

Additional coverages under this option are available at additional cost.

D. {f you wish to choose the “full tort” option described in paragraph C, you ‘may sign this nolice where

“Indicated below and return it, However, if you do not-sign and return this notice. you will be considered to
have chosen the “full tort” coverage as described ‘in paragraph C and you will be charged the “full tort*
pramium. :

Signature Ling II.

 

Named Insured Date

Ei You may contact your insurance agent, broker or company to discuss the cost of other coveragss.
'

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. PENNSYLVANIA FIRST PARTY BENEFITS COVERAGE

 

 

 

 

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“ELECTION OF LIMITS FORM

 

 

BASIC FIRST PARTY BENEFIT - COVERAGE QA/08

Basic First Party Benefits (FPB) includes coverage for medical treatment and rehabilitative services provided after
Bh accident In which the Insured, insured'’s family or passengers are injured In the insured’s car. FPB also provides

protection If the insured or a family member Is struck by 8 car while walking. FPB will plways be provided on
policles as mandated by the Commonwealth of Pennsylvania. . .

QA indicates that the limited tort option was selected.
QB Indicates that the full tort option was selected.

The maximum Iimit for medical expenses provided for Basic First Party Benefits Is $5,000 for any one person

Injured in any ane accident.

ADDED FIRST PARTY BENEFITS - COVEAGE R
Also available for an additional premium are

“added First Party Benefits" which are summarized below. Please .

complete and sign this form if additional coverage Is desired. Note: Even If you do not want any additional

coverages, this form must be signed and returned,

jicroasod Medical Expenses Bonofits
(iicreaaes the bevic medical to the limit specified below)

Income Loss Benofits
(Amount payable far iost income up to 80% of grass income)

 

Option Amount Opjion Maximum Amount Monthly Amount
Cl as $ 10,000 Be $ 5,000 $4,000
Gi As $ 25,000 Ba $15,000 $1,000
.O as $ 60,000 FE] 4 -$15,000 $1,500
LI a7. $100,000 [} 87 $25,000 $1,500
| (Tt _68 $50,000 $2,500.
Funeral Expenses Benefits Accidontal Death Benefits

(Rensonabdlo expanses for funoral, burlel, or cramation. Expanse must
_ be incurred within 24 months of ihe accident dale)

(Anounl payable i death occurs as 9 result of an acuident within 24
months of the accident date}

 

Option Arnount Option Amount
ce $1,500 ‘Kos $ 5,000
C7 $2,500 "07 $10,000
O os $25,000
Combination First Party Benefits Extraordinary Modical Benefits

(Baneiits for basic medical, Increased medical, income loss, funeral
oxbense and accidental death are combined into one total fmt This
$3-{he most wa will pay 8 a reaull of bodily Inlury to any one insured
ng'the ragull of any one accident. Funaral expense is. tImited to
$2,500 and Accidental Death to $10,000 for options H & J and
$25,000 for options K & L.)

Option Total Limit
ox $ 50,000
a J $100,000
K $177,500
L} et $277,500

(Additonal medical payments coverage up to $1,000,000 after tha
first $100.000 of medicel is paid by or for any insured.)

Amount
$1,000,000

Option
O Coverage W

 

 

NOTE: We strongly urge you to purchase increased Medical Expenses benefits, option A7, if you
purchase coverage W, since Coverage W does not pay for the first $100,000 in medical bills.

| have personally reviewed and completed this form. I understand that this coveyage election wil! apply to all
future renewals, continyations, and changes in my policy unless I notify Travelers in writing ofa new election.

 

Sigpature pt N hod I

 

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Page 4 of 10

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Case 2:08-cv-03138-AB Document 22-2 Filed 05/15/09.’ Page 46 of 76

 

 

 

 

PENNSYLVANIA UNINSURED MOTORISTS COVERAGE

Note: This form only needs to be completed If you wish to reject uninsured motorists coverage.

Uninsurad motorists coverage is Insurance protection you may purchase that protects you and your family if
you or they @re injured by a negligent driver who fails to have any insurance coverage, This coverage is
opfionat. However, we are required to include it in your policy unless you take steps to reject it.

if you do not want this coverage, the insured named first on the application or the declarations page must sign
ang date the rejection of uninsured motorists protoction below. If you want to Keep this coverage, do not sign
this waiver and go to the next page.

 

 

 

REJ ECTION OF UNINSURED MOTORIST PROTECTION

 

ae flare

 

By, signing this waiver | am rejecting uninsured motorist coverage under this policy, for mysalf. and all relatives
residing In my household. Uninsured coverage protects me and relatives living In my household for tosses and
damages suffered if injury is caused by the negligence of @ driver who does not have any Insurance to nay for
losses and damages. | knowingly and voluntarily reject this coverage.

 

O° Perera

’ Signature of First Named Insured

 

Date

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PLi2432 Rov 7-08 Page 6 of 10

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PENNSYLVANIA UNINSURED MOTORISTS COVERAGE - STACKED LIMITS

 

Nate: This form only needs to be completed if you wish to reject the stacking option for uninsured motorists
coverage,

if You have chosen uninsured motorists coverage, your next option is to determine If you wish to stack the limits
ofithis coverage. With "stacking", the limit of liability is determined by adding the uninsured motorists coverage
limits for each motor vehicle which covers the injured person as an insured. if you reject "stacking". the total
limit of coverage will be the stated limit for the motor vehicle as to which tha Injured person Is Insured. You will
save on this part of your premium if you reject "stacking". “Stacking” can only be used If you have more than
one motor vehicle. Please cantact Travelers or your insurance representative for a premiurn comparleon. .

Td reject stacked limits of uninsured motorists coverage, the Insured namad first on the application or the
déblarations must sign and date the rejection of stacked uninsured covarage limita below. If you want to stack
thi coverage, do not sign this walver and go to the next page.

‘t

‘j
:

 

REJECTION OF STACKED UNINSURED COVERAGE LIMITS

 

 

 

 

By, signing this waiver, | am rejecting stacked limits of uninsured motorist coveragsa under the policy for myself
arid members of my household under which the limits of covarage available would be the sum of Jimils for each
motor Vehicle Insured under the policy. Instead, the limits of coverage that | am purchasing shall be reduced to
thé limits stated in the policy. 1 knowingly and voluntagjly rejected the stacked limits of coverage. | understand
that my premiums will be reduced if! reject this coverdg4. . , ,

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Case 2:08-cVv-03138-AB Document 22-2 Filed 05/15/09 Page 48 of 76

 

 

 

\ PENNSYLVANIA UNDERINSURED MOTORISTS COVERAGE

1 . . .
' Note: This form onty needs to be completed if you wish to reject underinsured motorists coverage,

 

1
Underinsured motorist protection is Insurance coverage you may purchase that protects only you and your
family if you or they are injured by a negligent driver who does not havea enough bodily injury lability
insurance ta cover your claims. This coverage ts optional. However, we arte required to include it in your
pdlicy unless you take steps to reject it.

if you do not want this coverage, the Insured named first on the application or the declarations page must sign
and date the rejection of underinsured motorist protection below. If you want to keep this coverage, do not sign
this walver and ge to the next pago.

 

 

 

 

; , REJECTION OF UNDERINSURED MOTORIST PROTECTION
; -

By signing this waiver, | am rejecting underinsured motorist coverage under this policy, for myself and all
relatives residing in my household. Underinsured coverage protacts me and relatives living in my household far
logses and damages suffered ff injury is caused by the negligence of a driver who does not have enough
ingurance to puy for all losses and damages. | knowingly and voluntarily reject this coverage.

i

 

Signature of First Named Insured —

 

|
:

Date

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PENNSYLVANIA UNDERINSURED MOTORISTS GOVERAGE A STACKED LIMITS

 

 

 

1 oo
i :
Ndte: This form only needs to be complated if you wish to reject the stacking option for underinsured motorists
coverage.

i

is
if You hava chosen underinsured motorists coverage, your next option Is to determine if you wish to stack the
lirgits of this coverage. With "stacking", the limit of liability is determined by adding the underinsured coverage
lirtits for each motor vehicle which covers the injured person as an Insured. If you reject "stacking", the total
lidjit of coverage will be the stated fimit for the motor vehicle as to which the injured person is insured. You will
sdye on this part of your premium if you reject "stacking". “Stacking” can only be used if you have more than
ore motor vehicle. Please contact Travelers or your insurance representative for a premium comparison.

l
Tq reject stacked limits of underinsured motorists coverage, the insured named first on the application. or the
declarations must sign and date the rejection of stacked underinsured coverage limits below. If you want to
stack this coverage, do not sign this waiver and go to the next page.

 

 

:
i REJECTION OF STACKED UNDERINSUREO COVERAGE LIMITS

By signing this waiver, 1 am rejecting stacked limits of underinsured motorist coverage Under the policy for
myself and members of my household under which the Ilmits of coverage avallabla would be the sum of timits
fot each motor vehicle insured under the policy. Instead, the limits of coverage that | am purchasing shall be
reduced to the limits stated In the policy. | knowingly and voluntarily reject Ihe stacked limits of coverage. ! .
understand that my premium will be reduced if | reject this : .

   

 

 

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"PENNSYLVANIA SELECTION OF UNINSURED AND/OR UNDERINSURED MOTORISTS COVERAGE LIMITS

 

 

 

ho,
Note: This section only needs to be completed if you wish to select uninsured and/or underinsured motorists
coverage at tImits less than your bodily Injury liability limits.

ij

Hi you elect uninsured and/or underinsured motorists covarage, wa ara required to offer you theea covarages al
lifnits equal to your bodily injury liabillty ilmits. If you wish to select uninsured and/or underinsured motorists
coverage at limits tower than your bodily injury liability limits, you must complete, ‘Sign and date the following.

il Request for Lower Limits of .
} Uninsured and/or Underinsured Motorists Coverages

Please make selection below only If you wish to select uninsured and/or underinsured motorists coverage at
limits lower than your bodily injury lability timite:

Uhinsures Motorists Coverage Underinsured Motorists Coverage

a

[] $15,000/30,000 $35,000 $15,000/30,000 (] $35,000
|i} $26,000/50,000 $50,000 $25,000/50,000 LJ $50,000
'} $60,000/100,000 $100,000 | $50,000/100,000 {] $100,000

(} $100,000/300,000 LJ $300,000 CJ $100,000/300,c00' $300,000

fd OtherS$u fC COther $i CC) ther $a Other $___.

tbinderstand that this election will spply to all future renewals, continuations, and changes in my policy unless |
notify Travelers In writing of a new alection. : .
:

|

Signature of Named Insured Data
l |
‘

; PENNSYLVANIA SELECTION OF COLLISION DEDUCTIBLE

id

4
Note: This section only needs to be completed if you wish to select 8 Collision Coverage deductible below $500.
; .

 

 

 

 

' . .
if You have collision covarage, a $500 deductible is mandatory unless you complete the following walver.

By signing this waiver,-1 am rejecting a $500 deductible for collision coverage. | understand that the lower the
deductible | select the higher my premiums for Collision insurance will be, | select the following deductibles:

100
H 200 (not available for all vehicles, ¢60 note below)
J 250

{ -
Note: The $200 deductible option is nol available for certain vehicle types such as trailers, recreational vehicles,
and auto homes and camper bodies equipped with living quarters.

1 : .
| Understand that this election will apply to all future renewals, continuations, and changes in my policy untess |
notify Travelers in writing of s new election.

te of Named Insured Date

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7 Rev. 7-98 Page 9of 10
' .

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PENNSYLVANIA AUTOMOBILE DISCOUNTS

 

 

 

Note: This form only needs to be completed if you are requesting 8 driver improvement course credit or if you
hpve passive restraint equipment or anti-theft devices in any of your vehicles. .

DRIVER IMPROVEMENT COURSE CREDIT
IFa named insured age 55 or older has successfully completed a driver improvement course approved by
PennDOT, a 5 percent pramium credit may be applied to your policy. To receive this credit:

a certificate of successful completion from an approved course must be provided; and
the course must have been completed within tha last three years. .

wAlmeewe? be OE a,
8

PASSIVE RESTRAINT DISCOUNT

if‘your vehicle is equipped with passive seatbelts or airbags, you are antitied to a discount on the first party
benefits coverage portion of your policy. Passive seatbelts are those which automatically fasten without any
action by the driver or front saat passenger.

Iyou answer yes to any of the following questions, check the proper block and indicate which vehicte(s).
1

[1] Does your vehicle have possive seatbelts, which automatically fasten without any action by the driver or
{ front seat passenger? Which vehicle(s):

Ol Does your vehicle have driver side airbags only? Which vehicle(s):

O Does your vehicle have both a driver and passenger airbag? Which vehicle(a):

ANTI-THEFT DISCOUNT .
It} you have.en anti-theft device in your vehicle, it may be one that qualifies for a discount on the comprehensive
coverage portion of your policy,

i
if: you answer yes to any of the following questions, check the proper block, indicate which vehicle(s) and
piovide avidence of installation,

q Does your vehicle have an alarm system that can be heard at least 300 feet oway for at least 3 minutes?
Which vehicle(s):

cj Does your vehicle have a device that you manually set that makes the fuel, ignition or starting system
| Inoperalive? Which vehicle(s):

Does your vehicle have a device that autoroatically makes the fuel, Ignition or starting system inoperative
: when the ignition ts turned off? Which vehicle(s):

 

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i
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:

FRAUD NOTICE

 

 

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Any parson who knowingly and with Intent to defraud any insurance company or other porson files an
application for insurance or statement of claim contalning any materially false information or conceals
for the purpose of misteading, information concerming any fact material thereto commits a fraudulent
insurance act, which is a crime and subjects the person to criminal and civil penalties.

a
| understand that the coverage selections indicated above shail apply on this policy and all future
renewals, continuations and changes In my policy until | notify Travelers In writing of any changes.

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PAs2432 Rav. 7-98 : Page {0 of 10

 

 

 

 

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EXHIBIT “F”
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In Re: ESTATE OF SCOTT PARZYCH Z

Oo DBP W DN

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6 JUNE 9, 2008

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PRECISION REPORTING, INC.
21 230 South Broad Street - 3rd Floor

7
8 Statement Under Oath of JACQUELINE
9 PARZYCH, taken pursuant to notice, held at
10 the Law Offices of Moore & Riemenschneider,
11 LLC, 1132 Old York Road, Abington,
Pennsylvania, 19001, commencing at 2:07 p.m.
-, on the. above date,.. -before. Michelle. T.. 2 on
cascio, Shorthand Reporter- Notary Public, i
15 there being present.
16
18 ;
:
19 * * * ;
20 a
i
F
q

Philadelphia, Pennsylvania 19102

 

 

 

$22 - 2. 2 |. (215) .731-9847
1-800-528-3060
1134 Parliament Way . :
po Thorofare, New Jersey 08086 |
“T24 | (856) 848-4978 |

 

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1. she barely moved her things out, and Scott had |
2 his mattress in there on the floor. He claimed |
3 ait. |
4 Then, when David was going to,
5 school, he needed more room. So Scott and David
6 changed rooms again. Basically, I think he's
7 been in the same room for the last maybe seven or |
8. eight years. . | |
9 Q. So he's been in that room a fairly |
10 | long time?
ai AL yes.
Qe and when David comes back to stay, |
713 he stays in his room? j
14 A. Yes.
|25 Qs What_ room does Tyler stay in when |
‘| 16 they come to see you? - |
17 | | A. We have a room that. nobody is using.
18 | dg. A guest room? |
| | pn :
19 OA, Yes. /
20 Q. When you say they came at least one
210 time.per week, do you know why that would be?
(22 A. Well, we babysat for Tyler a lot.
1.23 ‘If they would go out with their friends on the
| 24 weekend or whatever, then they would come back to |

  

SSE eee

AN%af1 hee OAAR
Case 2:08-cv-03138-AB Document 22-2 Filed 05/15/09" Page 55 of 76

 

 

- Page 15
1. our house and sleep there. Then they would have i
“9 Tyler -- you know, take him the next day.
3 | - Sometimes Scott -- if we were going
4 to -- if there was a big snowstorm predicted,
5 Scott would want to sleep over, because his work
6 was in close proximity to our house. Also, he
7 liked to help us” shovel out in the morning. So
8 / they did that a few times. |
Q Q. Where did Scott work?
10 | A. 7 He worked -o well, his boss lived in
11 North Whales. They worked at a pool table |

_installation business, and they would ‘travel to.

   

ag different places, but he would go to the boss's |
14 | house and travel with him to wherever they were |
15 going that day. I
16 . Q. | Was it Fitzwater Pool Table Service?
17 A. Yes, yes. | |
18 | MR. MOORE: Just So you know, we're:
19 waiting for the 2007 1099. The Estate of
20 Fitzwater, because he was driving the i
21 vehicle at the time, they filed.an
22 extension, which has been jamming up the

23 filings for the tax returns. I don't know

 

| 24 if that's going to help out or not.

 

 

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Case 2:08-cv-03138-AB Document 22-2 Filed 05/15/09 Page 56 of 76

EXHIBIT “G”
Case 2:08-cv-03138-AB Document 22-2 Filed 05/15/09 Page 57 of 76

 

 

 

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~—-T ORIGINAL
* * *
In Re: ESTATE OF SCOTT PARZYCH

*. * *

JUNE 9, 2008

* * *

Statement Under Oath of JACQUELINE

PARZYCH, taken pursuant to notice, held at

the Law Offices of Moore & Riemenschneider,
LLC, 1132 Old York Road, Abington,

-Pennsylvania, 19001, commencing at 2:07 p.m.

.on the above date,..before.Michelle.T....

Cascio, Shorthand Reporter-Notary Public,

there being present.

PRECISION REPORTING, INC.
230 South Broad Street - 3rd Floor
Philadelphia, Pennsylvania 19102
(215) 731-9847
1-800-528-3060
1134 Parliament Way
Thorofare, New Jersey 08086
(856) 848-4978

 

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Case 2:08-cv-03138-AB Document 22-2 Filed 05/15/09 Page 58 of 76 |»

 

 

 

 

 

| Page 16 |
1 . MS. SCHEESE: Sure, sure, anything.
‘ 20 BY MS. SCHEESE: |
3 Q. How long did he work with Fitzwater
4 | Pool Table Service?
5 | A. of think it was probably about five
6 years maybe, four to five years, but I'm not |
7 exactly sure.
8 og, Can you estimate, of the times that
9 Scott stayed there, was that typically on the :
10 weekends’ or during the week? — . |
11 | A. It was usually on the weekend, but
112 ihe would stay, during the week on occasion also. _ |
113 | QO. In snowstorms and other situations
14 like that? | | |
1S A Yes. They also were in a pool T.
l16 league. So if they had -- if they were going to |
17 be playing closer to my house, they would stay at |
18 my house that night when the pool league was
19 over. | |
20 : Q. | How far was your house from Julie's
21 -. apartment?
22 A. About 15 minutes maybe.
1 23 Q. Did Scott have a car?
| 24 | A. Yes.

  

 phQOORAAQ arnO°d AAAR MeLA LCIONMNSAL APRN
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EXHIBIT “H”
Case 2:08-cv-03138-AB Document 22-2 Filed 05/15/09 Page 60 of 76

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In Re: ESTATE OF SCOTT PARZYCH

Oo FP W NY.

*. * *

6 JUNE 9, 2008

* * *

8 Statement Under Oath of JACQUELINE
9 PARZYCH, taken pursuant to notice, held at

LN ee

10 the Law Offices of Moore & Riemenschneider,
LLC, 1132 01d York Road, Abington,

‘Pennsylvania, 19001, commencing at 2:07 p.m.

on the. above date,.. -before. Michelle. T.

 

i

Cascio, ‘Shorthand Reporter- Notary Public,

 

 

 

15 there being present.

16
Ap . i
18° |

19 * * * |
PRECISION REPORTING, INC.

{21 230 South Broad Street - 3rd Floor i:
Philadelphia, Pennsylvania 19102 |

22 55. a (215) 731-9847 ft
1-800-528-3060

1134 Parliament Way

Thorofare, New Jersey 08086 i}

(856) 848-4978 f

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-. , Case 2:08-cv-03138-AB Document 22-2 Filed 05/15/09 Page 61-of 76

 

 

Page 13

 

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16

1. wo Q. Do you know when that was?
2 A. —- August 24, 2007.
3 Q. Now, you said that he continued to
4 reside at your house sometimes?
5 A. Right.
6 | QO. - Can you tell me how often, say per
7 week, how many nights was he there? |
8 AL _ Probably once a week, at least.
9 QO. And would Julie come or would -- |
10 A. . Yes. Most of the time, Julie would
al be there too, and also Julie's son, Tyler. He
-t12 | also had a bedroom at our house.
143 | Q. How many bedrooms does your house
14 | have? |
A. . Five. I
Q. How many bathrooms?
17 A. One full and one powder room.
18 Q. | Now, of the five bedrooms that you
19 have, did Scott stay in the same bedroom his |
20 whole life? |
{21 . a Ale Actually, no. They played musical |
: a
22 bedrooms when we first moved in. Jennifer got |
| 23 the largest of the bedrooms, other than the one
| 24 that we took. Then, when she got her apartment, |
:
a

 

 

mn OMLCOADO ~~ AAAW MeLA LIAREALREN IIHT
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EXHIBIT “1”
Case 2:08-cv-03138-AB Document.22-2. Filed 05/15/09 . Page 63 of 76. .

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

NO: 08~-cv-3138

TRAVELERS INSURANCE ) DEPOSITION UPON
COMPANY
) ORAL EXAMINATION

 

“~vVvs - ) OF
THE ESTATE OF SCOTT ) STEVEN CANUSO
‘PARZYCH AND JACQUELINE
PARZYCH )

TRANSCRIPT OF DEPOSITION, taken by
and before Lisa Petitta, RPR, CSR, at the LAW
OFFICES of MOORE & RIEMENSCHNEIDER, 1132 Old York
Road, Abington, Pennsylvania, on Tuesday, December

9, 2008, commencing at 10:00 a.m.

ERSA COURT REPORTERS
30 South 17th Street
United Plaza - Suite 1520
Philadelphia, Pennsylvania 19103
(215) 564-1233

 

 

 

 

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| Page 25
1. A. Well, all of my kids know that '
2 they're always welcome to stay, you know, any
3 time. We have the room. They have their own |
4 | rooms. It wasn't like they were putting anybody |
5 out. | |
6 a I don't know if that answers your
7 question, but he knew that he could stay any time
8 for whatever reason. Tf he -- you know, if it
9 was work-related or because they wanted to go out
10 or whatever, they were always welcome to. have
11 _ Tyler sleep over or to have them come back after
/ 112 __, they went out. with.their friends. so it was just _
“13 : open. You know, they were always welcome.

14 Q. Let me ask you this: If someone
j;15. were to ask you around that time period who lived |
16 at your house, what would you say?
{17 — oa, Well, that's difficult to say. :
(18 Scott did have his apartment. ~So I guess I would |
19 say that was his main residence, but he did live
20 in my house, you know, at times too, and he had a |
21 key, as did: Julie, and they stopped in, you know, f
22 at all different times. It wasn't like he had to

123 call and say "Mom, is it okay if we come over" or
“24 "Can I stop in for dunch" or whatever.

  

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I mean, he would just come in

whether we were home or not and let himself in.

He would feel free to come in and do whatever he

wanted to do, just as if that were his only
residence.

Q. Did Scott drive any of your vehicles
on a regular basis?

A. Not on a regular basis, but
occasionally, if his car was in the shop or
whatever, he might take our car. You know, it
was a rare occasion, but it would happen on

occasion.

Q. And I agree with your attorney's

statement that you shouldn't ask a question that

_ you don't know where it's going, but I will ask.

this next one anyway. Why did you list Scott as
a driver on your policy?

A. When I first got the policy, I put
down my name, my husband's and David's name, and

the insurance agent said "Does anyone else live

-there?"..

I said "My son Scott, but he has his
own policy. I wasn't going to put him on this

policy."

  

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_ Page 27
He said "Well, you should list him

anyway, because you never know when he might
drive your car, and he should be covered."

So I said "Pine, put him on."

MR. MOORE: When you say "agent",

would that be Mr. Canuso?

 

THE WITNESS: Yes, yes.

MR. MOORE: And you said you told
Mr. Canuso that Scott lived with you?

THE WITNESS: Yes. We got this
policy before he knew Julie, so there was no
question that he lived there at that point,
put he did have another policy. T don't
know who it was with, but he did have his
own insurance policy. So I wasn't going to |
-put him on our policy.

Originally, we listed our car and

David's car and my husband, myself and David

 

as the drivers, but then he suggested that
we put Scott on there also. We didn't put
his vehicle on there, just his name.
BY MS.. SCHEESE: | |

Q. And you said you got that policy

before he met Julie?

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. Page 28
. 1. A. Oh, yes.
- 2 QQ. Did you ever call to update that |
3 policy or anything like that? — |
4 oe A. No, not for people. For vehicles, |
5 when we changed a vehicle, I would call to change
6 | that. 7
7. | MS. SCHEESE: That's all I have.
8 . Thank you.
9 . MR. MOORE: I just have a couple of
10 -. questions. | oo ,
11 * * * |
a so  ..., BXAMINATION _ pe
.| 14 BY MR. MOORE: | |
as Q. Where was.the laundry Gone for Scott | -
| 16 | and Julie? | |
17 A. When they got this apartment that |
18 _ they got together, they did have a washer and |
19 dryer, but before that, Scott's clothes were all |
20 washed at my house, and Julie would bring her and
21. Tyler's laundry over also. It would all be done |
22 at my house.
eo 23 Q. After Julie and Scott rented the :
124 | apartment in Hatfield, did Julie treat your house

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STEVEN CANUSO
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1 Q. Was he a listed driver with another policy?
2 As He was with -- he was with the another
3 company. We put him with a different company. We
4 put him with Progressive.
5 Q. How long was he with Progressive?
6 A. I want to say three years, four years.
7 Q. Do you know who he's insured with on
8 November 15, 2007, the day he tragically died?
9 A. Yes. He was on his wife's policy.
10 Q. With --
11 A. Jacqueline Parzych, yes, Jacqueline.
12 9Q. That's his mom.
13 A. Isn't Jackie or --~
14 Q. Julie.
15 A. Julie, excuse me, Julie Parzych. Sorry.
16 Q. And was he a listed driver on that policy
17 also?
18 A. He was listed driver, yes.
19 Q. Was he a listed driver on his mother's
20 policy on the day that he past away?
21 ABs He was listed as a driver in the household,
22 yes.
23 Q. And what --
24 A. With insurance elsewhere.

 

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STEVEN CANUSO

 

 

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Q. What does it mean to be a driver in the
household with insurance elsewhere?

A. Just means that you are in that household,
you live in the household, and you have insurance
elsewhere.

Q. . That's your understanding?

A. At this point?

Q. Yes.

A. What date?

Q. In November 15, '07.

A. “No.

Q. Then why would he be listed in the
household as a driver on that day?

A. Probably oversight on administrative.

Q. Is he still listed as driver on her policy?
A. No.

Q. When was he taken off? When I say her
policy, I mean Jacqueline's policy.

A. I don't know the exact date. Probably in
February.

Q. Are they still clients of yours, Jacqueline
and Val Parzych?

A. Yes.

Q. Still with Travelers?

 

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STEVEN CANUSO
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1 Q. Was he married at that point?
2 Aése I don't know. I don't know the exact date
3 of marriage.
4 Q. Do you know where he was living at this
5 point?
6 A. Hatfield.
7. Q. How do you know he's living in Hatfield?
8 Ake Because he mentioned it to me.
9 Q. Did you ever visit him at that place?
10 A. No.
11 Q. Do you know if he lived in North Wales in

 

12 addition to living in Hatfield during the time
13 period?

14 A. I knew when he was single he did.

15 Q. Lived where?
16 A. With his parents.
17 «Q. Do you know if he ever relinquished his

18 residence at his parents' house once he got

19 married?

20 A. I don't know that.

21 Q. Do you know if he stayed at his parents'
22 house on a weekly basis? Monthly basis?

23 «As No idea.

24 Q. Do you know if his wife, Mr. Parzych, and

 

 

 

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STEVEN CANUSO

 

 

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her son stayed at Scott's parents' house at 521

East Montgomery Drive up until the day of the

accident?

A. I would have no idea.

Q. Do you know if Mr. Parzych had dual
residency?

A. I wouldn't have any idea.

Q. When you are an insurance agent getting

business from a new insured, do you check their
driver's licenses?

A. We get their driver's license numbers. Do
I check their driver's license, no.

Q. Do you know what address Scott had on his
driver's license for when he died?

A. I have no idea.

Q. Do you know what he had when he was listed
as a driver under his wife's policy?

A. Do I know what his address was on his

license, no.

Q. Yes.
A. No.
Q. When Scott told you that he was married

living in Hatfield, did you ever take him off his

mother's policy as a listed driver?

 

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STEVEN CANUSO
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1 A. No. He's still listed on it. I haven't

2 touched it. It's still on there.

3 Q. Listed driver, I'm taking your definition

4 would be a driver that lives in the household?

5 A. Lives in the household.

6 Q. Okay. Why don't we just -- unless you have
7 any questions, I'm going to wait for the chart.

8 MR. ABBOTT: Let me look at my

9 notes one second.

10 MR. MOORE: Take your time.

11 BY MR. ABBOTT:

12 Q. Two follow-ups. I don't want to put words
13 in your mouth, Mr. Canuso, but I believe you said
14 it was an oversight, an administrative oversight as
15 to why -- you answered as to why Scott was still

16 listed on his mother's policy at the time of his

17 death?

18 MR. MOORE: Objection. You can

19 answer.
20 THE WITNESS: Yes.
21 BY MR. ABBOTT:
22 Q. And is that the only reason why he remained
23 on his mother's policy at the time of his death?
24 As. Absolutely.

 

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